EXHIBIT .$/
Filing # 97647871 E-Filed 10/22/2019 10:17:07 AM

                                                                       IN THE CIRCUIT COURT OF THE
                                                                       1 8m JUDICIAL CIRCU{T IN AND
        CITRUS CONTRACTING LLC                                         FOR SEMINOLE COUNTY,
        ajalo Walid Mardini,                                           FLORIDA


                Plaintiff,                                             CASENO.:


        V.



        LIBERTY MUTUAL FIRE I?NSURANCE
        COMPANY,

                Defendant.
                                                      /


                                          COMPLAINT FOR DAMAGES


                Plaintiff, CITRUS CONTRACTING LLC a/a/o Walid Mardini (hereinafter the

        "Plaintiff"), hereby sues Defendant, LIBERTY M[?JTUAL FIRE INSURANCE COMPANY

        (hereinafter the "Defendant"), and states as follows:

                                      PARTIES, JURISDICTION & VENUE

                1. This is an action for damages under an insurance policy resulting from loss of

        property wherein the amount in controversy exceeds Fifteen Thousand Dollars ($15,000.00),

        exclusive of costs, interest and attorney' s fees, and is therefore within the jurisdiction of this Court.

                2. At all times material hereto, Walid Mardini (hereinafter the "Insured") had

        insurance coverage pursuant to a property insurance policy issued by Defendant.

                3. At all times material hereto, Plaintiff was and is a Florida Limited Liability

        Company authorized to conduct and was in fact conducting business in Seminole County, Florida.

                4. Atalltimesmaterialhereto,Defendantwasandisaninsurancecompanyauthorized

        to conduct and was in fact conducting business in Seminole County, Florida.

                s. Venue is proper in Seminole County, Florida as Seminole County is the locale

        where the cause of action accrued.


                6. All conditions precedent have been satisfied, discharged, or waived.
                                                       Page 1 of 8
                                   GENERAL ALLEGATIONS


        7. At all times material hereto, in consideration of the applicable premiums, Defendant

issued to Insured a property insurance policy bearing policy number H3225 156833 540 (hereinafter

the "Policy"). A copy of the Policy is attached hereto as Exhil>it A.

        8. ThePolicyprovidedinsurancecoverageforthepropertylocatedat2117Wembley a

Place, Oviedo, Florida 32765 (hereinafter the "Property").

        9. Defendant insured the Property for damage including, but not limited to, damage

to the stmcture and its contents resulting from water damage, windstorm, fire, theft, and other

covered perils.

        10. OnoraboutSeptemberl0,2017,whilethePolicywasinfullforceandeffect,a

covered loss occurred to the Property, namely, Hurricane Irrna (hereinafter the "Loss").

        11. InsuredtimelyfiledaclaimandnotifiedDefendantoftheLoss.

        12. Defendant assigned claim number 039539972-01 to the Loss (hereinafter the

"Claim").

        13. Subsequent to the Loss, the Insured assigned certain benefits by and through the

Policy to Plaintiff. Plaintiff, as assignee, is entitled to such benefits up to the amount of services

rendered or to be rendered by Plaintiff in connection with the Claim. A copy of the assignment of

benefits is attached hereto as Exhibit B (hereinafter the "'AOB").

        14. As a result of the Loss, the Property sustained damage and the Insured has or will

incur costs for services rendered or to be rendered by Plaintiff.

        15. ThechargesforPlaintiff'sserviceswerereasonableinlightoftheworkrequiredto

be performed at the Property pursuant to the Policy.




                                             Page 2 of 8
        16. Prior to the filing of this action, Plaintiff provided Defendant with an itemized

description of the services required to return the Property to a "pre-loss" condition, as required by

the Policy, but Defendant failed to pay the total amount owed for these services. The itemized

description of services necessary to return the Property to a "pre-loss" condition is attached hereto

as Exhibit C.


        17. Thereafter, Defendant wholly and improperly denied coverage for the Insured's

Loss and Claim.


        18. Plaintiff has suffered and continues to suffer damages as a result of Defendant's

acts and omissions.


                              COUNTI - BREACH OF CONTRACT


        19. Plaintiff incorporates the allegations set forth in paragraphs one (l) through

eighteen (18) as if set forth fully herein.

        20. The Insured assigned its right to payment under the Policy to the Plaintiff, with

respect to the reasonable services rendered or to be rendered by Plaintiff on behalf of the Insured,

pursuant to the Policy.

        21. PursuanttoFloridalaw,thePolicy,andtheAOB,Defendantisrequiredtomake

payment to Plaintiff for the reasonable services rendered or to be rendered by Plaintiff.

        22. By failing to make complete payment to Plaintiff for the reasonable services

rendered or to be rendered in connection with the Claim, Defendant breached the Policy.

        23. As a direct and proximate result of Defendant's breach of the Policy, Plaintiff has

been damaged in an amount to be determined at trial, including outstanding unpaid bills for

services rendered or to be rendered.




                                              Page 3 of 8
       24. As a direct and proximate cause of Defendant's acts and omissions, Plaintiff has

been forced to retain the services of undersigned counsel and Defendant is responsible for paying

a reasonable attorney's fee pursuant to Fla. Stat. §627.428 or §626.9373.

       WHEREFORE, Plaintiff prays for damages, pre-judgment interest, attorney's fees

pursuant to Florida Statute §627,428 or §626.93=73, costs as the prevailing party, and any other

relief this Honorable Court deems fair and proper.

                                DEMAND FOR JURY TRIAL


       Plaintiff hereby demands a jury trial against Defendant on all issues so triable.




                       [NOTICE OF COMPLIANCE ON THE FOLLOWING PAGE]




                                            Page 4 of 8
                 NOTICE OF COMPLIANCE WITH FLORIDA RULE OF
                     JUDICIAL ADMINISTRATION RULE 2.516


       Plaintiff, by and through undersigned counsel, files this Notice of Compliance with Judicial
Administration Rule 2.516 and hereby designates the following as the sole email addresses for
transmitting electronic service documents on behalf of Harold Y. Levy, Esquire and Brian K. Lewis,
Esquire:

                      PRIMA?RY EMAIL :               Service@,HLLawGroup.com

                       SECONDARY EMAIL: Brian@,HLLawGroup.com
                                           Barbara@,HLLawGroup.com
                                            Santana@,HLLawGroup.com


       Transmittal of court documents to the above-designated email addresses must be made in
order for service to be proper and effective, however, please use the attorneys' regular email
addresses for all other communications.



       DATED this 22'd day of October, 2019.


                                             HL LAW GROUP, P.A.

                                             By: /s/ Brian K. Lewis
                                             Brian K. Lewis, Esquire
                                             FBN: 119920
                                             Harold Levy, Esquire
                                             FBN: 30478
                                             Attorney for Plaintiff
                                             2601 East Oakland Park Boulevard, Suite 503
                                             Fort Lauderdale, Florida 33306
                                             Telephone: (954) 713-1212
                                             Facsimile: (954) 760-4239
                                             Email: Service@,HLLawGroup.com
                                              SecondaryEmail: Brian@,HLLawGroup.com
                                                                      B arb ara@,HLLawGroup . com
                                                                      Santana(aHLLawGroup.com




                                           Page s of 8
EXHIBIT A




   Page 6 of 8
9 Q?iestions about your Policy? I Policy Number:
     Call 1-407-833-3885 or               H32-251-568335-40 8 0
                                                                              Report a Claim:
                                                                              1 -800-2CLAIMS or                 >   LiLycrly
                                                                                                                    Mritujl




                                                                      l
     1-800-541-6196                                                           LibertyMutual.com/Claims               I?ISU?IAL?CE




     ACTION REQUIRED:
     PLEASE REVIEW AND KEEP FOR YOUR RECORDS


                                                                                     Save an estimated $205
     Policy Declarations                                                             annually by switching to
     Liberty Mutual Fire Insurance Company                                           Paid-in-Full


     Total 12 Month Premium: $3,292.00
     Insurance Information

     Named Insured: Walid Mardini                            Policy Number:           H32-251-568335-40 8 0
                       Rana Mardini

                                                             Policy Period:           07/14/2018-07/14/2019 12:01 a.m.
     Mailing Address: 2117 Wembley Pl
                       Oviedo FL 32765-9190                                           standard time at the address of the
                                                                                      Named insurea at Insured Location.

     lnsuredLocation:SameasMailingaddressabove DeclarationsEffective:07/14/2018


        DISCOUNTS AND BENEFITS SECTION



        Your discounts and benefits have been applied to your total policy premium.
                                                                                                               PREMIUM

        - Insurance to Value Discount                                                                    $        (279)
        - Inflation Protection Discount                                                                  $        (139)
                                                                                                         $        (595)
        a Safe Homeowner Pror;)ram
        o Windstorm Construction Features Credit                                                         $      (1,751)
        - Protective Device Discounts:                                                                   $        (635)
              Smoke/Heat Alarm-All Floors, Extinguishers and Dead Bolt Locks
              Complete Reporting Central Alarm
        Total Discounts and Benefits                                                                     $      (3,399)




     Coverage Information
     Standard Policy
                                                                                                     LIM?TS      PREMIUM
     SECTION I COVERAGES
                                                                                                $   572,900
     A, Dwelling
     B. Other Structures on Insured Location                                                    $    sr,zgo
                                                                                                $   401 ,030
     C. Personal Property with Replacement Cost
     D. Loss of Use of Insured Location                                                         $   114,580




FMHO 3047 05 16               THIS 15 NOT YOUR HOME INSURANCE BILL. YOU WILL BE BILLED SEPARATELY.                   Page 1 of s
[]    Want to Add a Coverage?
      Call 1-407-833-3885 or
                                            Policy Number:
                                            H32-251-568335-40 8 0
                                                                             Report a Claim:
                                                                             1-800-2CLAIMS or
                                                                                                                   ' j!!!§Libcrtii
                                                                                                                   ?httnu.<l




                                       l




                                                                       l
      1-800-541-61 96 to talk to your                                        LibertyMutual.com/Claims                     ILISIJRAL?CC


      agent about the availability of
      this coverage and whether it
      meets your needs.

      COverage Informat!on continued
      SECTION II COVERAGES                                                                            L?MITS        PREMIUM

      E. Personal Liability (each occurrenae)                                                  $ . 300,000
      F. Medical Payments to Others (each person)                                              $       5,000


      POLICY DEDUCTIBLES

      Losses covered under Section l are subject to a deductible of : $1 ,000
      Losses as a result of Hurricane are subject to a deductible of 2%: $11 ,458
      Losses as a result of Sinkhole are subject to a deductible of 1 0% of coverage A: $57,290


      [';
        otal Standard Policy                                                                                   $        6,400   ]
      Standard premium allocated for hurricane losses: $ 1 ,683
      Standard premium allocated for all other losses: $ 4, 717

      ADDITIONAL COVERAGES                                                   DEDUCTIBLE               LIMITS        PREMIUM

      Amendatory Mold End                                                                      $      10,000/ $                o
                                                                                                      20,000
      Credit Card, Fund Transfer, Forgery                                                      $       1,000 $                 o

      Personal Property Replacement Cost                                                                       $           245

      Ordinance Or Law 25%                                                                                     $           139

      Coverage E & F increased Iimit                                                                           $             29

      Total Additional Coverages                                                                               $           413



      OTHER CHARGES AND CREDITS                                                                                     PREMIUM

      Florida Emergency Management Surcharge                                                                   $          2.00

      Florida Building Code Effectiveness Grade Credit ' "                                                     $ (1 24.00)

      Total Other Charges and Credits                                                                          $ (122.00)



                                                                    Total 12 Month Policy Premium: $3,292.00




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@ Want to Add a Coverage?                   Policy Number:                  Report a Claim:                       %!?Libem
     Call 1-407-833-3885 or                 H32-251-568335-40 8 0           1-800-2CLAIMS or                      %f' %4(u.??




                                                                     l
                                     l
     1-800-541-6196 to talk to your                                         LibertyMutual.com/Claims                  INSURANCE



     agent about the availability of
     this coveraqe and whether it
     meets your needs.
     Additional Coverages and Products Available'
     We've reviewed your policy and have identified additional optional coverages and products that can add valuable
     protection. Talk to your agent about purchasing the following coverages and products and whether they meet
     your needs.
     *   Home Computer and Smartphone: If your smartphone or other devices are not insured, repairing or replacing
         them can be expensive. Did you know you can insure multiple devices for up to sl O,000 with a deductible or
         $50.00?

         Identity Fraud Expense : A stolen identity can be scary and expensive. We'll provide counse!ing, and pay up
         to $30,000 for expenses such as !ost wages and attorney fees incurred to recover your identity.
     *   Water Backup and Sump Pump Overflow : Water damage can ruin your possessions. If your sump pump fails,
         or you suffer water damage from a sewer or drain backup, we'll pay for covered home and personal property
         Icsses.

     'These optional coverages are subject to policy provisions, Iimitations, and exclusions. Daily Iimits or a
     deductible may apply. For a complete explanation, please consult your agent today.

     Policy Forms,and Endorsements: The following forms and endorsements are applicable to your policy
     LibertyGuard0 Deluxe Homeowner Policy                         Personal Property Replacement Cost
     (HO 00 03 04 91 )                                             (FMHO 299.3 0515)

     Credit CarrJ, Fund Transfer, Forgery                          Protective Devices (HO 0416 04 91 )
     (HO 04 53 04 91 )
     Ordinance Or Law (FMHO-1068)                                  Special Provisions - Florida (FMHO 1067 1016)
     Amendatory Endorsement (FMHO-2493 5/03)                       No Secll/Limit l-Daycare (HO 04 96 04 91 )
     Inflation Protection (FMHO-2835 11 03)                        Sinkhole Loss (FMHO 3286 1011 )
     Amendatory Mold End (FMHO 3468 0813)                          Calendar Year Hurr Ded % (FMHO-1158 R1 )
     Lead Poisoning Exclusion (FMHO-976 05/92)                     Seepage Exclusion Endorsement (FMHO 33141011 )
     LMHC Membership (2340)

     Important Messages

     LAW AND ORDINANCE COVERAGE 15 AN IMPORTANT
     COVERAGE THAT YOU MAY WISH TO PURCHASE. YOU
     MAY ALSO NEED TO CONSIDER THE PURCHASE OF FLOOD
     INSURANCE FROM THE NATIONAL FLOOD INSURANCE
      PROGRAM. WITHOUT THIS COVERAGE, YOU MAY HAVE
     UNCOVERED LOSSES. PLEASE DISCUSS THESE
     COVERAGES WITH YOUR INSURANCE AGENT,




FMHO 3047 05 16               THIS 15 NOT YOUR HOME INSURANCE BILL. YOU WILL BE BILLED SEPARATELY.                    Page 3 of s
9     Questions about your Policy?         Policy Number:                 Report a Claim:            '!3Lilicrty
      Call 1-407-833-3885 or               H32-251-568335-40 8 0          1 -800-2CLAIMS or          7Mutu.'l




                                                                    l
                                       l
      1-800-541-6196                                                      LibertyMutual.com/Claims        INSU?IANCE




      Important Messages (continued)


      THIS POLICY CONTAINS A SEPARATE DEDUCTIBLE FOR
      HURRICANE LOSSES, WHICH MAY RESULT IN HIGH
      OUT-OF-POCKET EXPENSES TO YOU.

      This policy contains a separate deductible for sinkhole Iosses,
      which may result in high out-of-pocket expenses to you,
      Please read it carefully,




FMHO 3047 05 16             THIS 15 NOT YOUR HOME INSURANCE BILL. YOu WILL BE BILLED SEPARATELY.         Page 4 of s
9 Questions about your Policy? I Policy Number:                              Report a Claim:                 kLiberty
                                           H32-251-568335-40 8 0             1 -800-2CLAIMS or                %f' q!24kyx:,l




                                                                       l
     Call 1-407-833-3885 or
     1-800-541-6196                                                          LibertyMutual.com/Claims                 lNsulAllCE




     A.dditional !riformation

     In the event of a hurricane and/or sinkhole loss, your Dwelling Coverage (Coverage A) may
     be automatically increased in accordance with the Inflation Protection endorseme-nt. In these
     case's, a hurricane and/orsinkhole deductible that is based on a percentage of dwelling =
     coverage would also reflect this increase.
     " "A rate adjustment of $( 124.00) is included to reflect building code effectiveness grading schedule in your
     area. Adjustments ranged from 2% surcharge to 1-1 3% crediE.
     LibertyGuardo Deluxe Horneowners Policy Declarations provided and underwritten by Liberty Mutual Fire
     Insurance Company (a stock insurance c6mpany) , Boston, MA.



                    ,d,J-*?          Th
                    David H. Long                                           Mark C. Touhey
                   President                                                Secretary


     This policy, including endorsements listed above.
                                                                            i,'?,&!,.)
     is countersigned by:                                                   Mary Beth Kees
                                                                            Authorized Representative




FMHO 3047 0516                 THIS 15 NOT YOUR HOME INSURANCE BILL. YOU WILL BE BILLE[) SEPARATELY.                  Page s of s
                                                                                            >:-=,i
                                                                                                INSURANCE




              LibertyGuard Delnxe Homeowners Policy
              Please read your policy and each endorsement carefully.




             To serve you best...

             Liberty Mutual has over 350 service offices throughout the United States
             and Canada. Please contact your service office shown on your Declarations
             Page to report losses, or for any changes or questions about your insurance.
             Payments should be sent to the office indicated on your bill.




             THIS POLICY 15 NON ASSESSABLE


    FMHO 943 (ED. 11-96)                             Liberty Mutual Group
l                                                                                           l               r
                                                                                                                >:rZ       INSURANCE




                                            LIBERTYGUARD DELUXE HOMEOWNERS POLICY
                                                                    HO 00 03 ED?TION 04 91

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    "These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as the
    insurer.




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                                                                                                   '>:::,W lNStlRANCE




        r                                           HOMEOWNERS 00 03 04 91                                                        l
        AGREEMENT

        We will provide the insurance described in this policy in return for the premium and compliance with all
        applicable provisions of this policy.
        [                                                     DEF?N?TIONS                                                         ]
        In this policy, "you" and "your" refer to the                       (,.  Any premises used by you in connection
        "named insured" shown in the Declarations and                            with a premises in 4.a. and 4.b. above;
        the spouse if a resident of the same household.                     d. Any part of a premises:
        "We," "us" and "our" refer to the Company                                (1) Not owned by an "insured"; and
        providing this insurance. In addition, certain words                     (2) Where an "insured" is temporarily
        and phrases are defined as follows:                                          residing;
        1. "Bodily injury" means bodily harm, sickness or                   e. Vacant land, other than farm Iand, owned
            disease, including required care, Ioss of                            by or rented to an "insured";
            services and death that results.                                f. Land owned by or rented to an "insured"
        2. "Business" includes trade,          profession     or                on which a one or two family dwelling is
            occupation.                                                          being built as a residence for an "insured";
        3. "Insured" means you and residents of your                        g. Individual or family cemetery plots or burial
            household who are:                                                    vaults of an "insured"; or
            a. Your relatives; or                                           h. Any part of a premises occasionally rented
            b. Other persons under the age of 21 and in                           to an "insured" for other than "business"
                the care of any person named above.                               use.

            Under Section 11, "insured" also means:                   s. "Occurrence" means an accident, including
            c. With respect to animals or watercraft to                   continuous or repeated exposure to
                which this policy applies, any person or                  substantially the same general harmful
               organization Iegally responsible for these                 conditions, which results, during the policy
               animals or watercraft which are owned by                   period, in:
               you or any person included in 3.a. or 3.b.                 a. "Bodily injury"; or
               above. A person or organization using or                   b. "Property damage."
               having custody of these animals or                     6. "Property damage" means physical injury to,
               watercraft in the course of any "business"                 destruction of, or loss of use of tangible
                  or without consent of the owner is not an                 property.
                  "insured";                                          7. "Residence employee" means:
            d. With respect to any vehicle to which this                  a. An employee of an "insured" whose duties
                policy applies:                                                   are related to the maintenance or use of
                m Persons while engaged in your employ                            the "residence premises," including
                    or that of any person included in 3.a.                        household or domestic services; or
                     or 3.b. above; or                                      b. One who performs similar duties elsewhere
                  (2) Other persons using the vehicle on an                       not related to the "business" of an
                      "insured location" with your consent.                       "insured."
    4. "lnsured Iocation" means:                                      8. "Residence premises" means:
            a. The "residence premises";                                  a. The one family dwelling, other structures,
            b. The part of other premises, other                              and grounds; or
                structures and grounds used by you as a                   b. That part of any other building;
                  residence and:                                          where you reside and which is shown as the
                  11 ) Which is shown in the Declarations; or             "residence premises" in the Declarations.
                  12) Which is acquired by you during the                 "Residence premises" also means a two family
                     policy period for your use as a                      dwelling where you reside in at least one of the
                     residence;                                           family units and which is shown as the
                                                                          "residence premises" in the Declarations.
    r                                          SECTION l - PROPERTY COVERAGES                                                    l
    COVERAGE A - Dwelling                                             2. Materials and supplies located on or next to
    We cover:                                                            the "residence premises" used to construct,
    1. The dwelling on the "residence premises"                          alter or repair the dwelling or o'ther structures
            shown              in    the         Declarations,           on the "residence premises."
            including structures attached to the dwelling;            This coverage does not apply to Iand, including
            and                                                       land on which the dwelling is located.
                                                                                                                        Page 1 of 16
l                                                                                                  l                                   l
                                                                                        bp:2   INSURANCE




    COVERAGE B - Other Structures                                 furs, precious and semi-precious stones.
    We cover other structures on the "residence              6.   !?2000 for Ioss by theft of firearms.
    premises" set apart from the dwelling by clear           7.   e2500 for Ioss by theft of silverware,
    space. This includes structures connected to the              silver-plated ware, goldware, gold-plated ware
    dwelling by only a fence, utility line, or similar            and pewterware. This includes flatware,
    connection.                                                   hollowware, tea sets, trays and trophies made
    This coverage does not apply to Iand, including               of or including silver; gold or pewter.
    Iand on which the other structures are located.          8. e2500 on property, on the "residence
    We do not cover other structures:                           premises," used at any time or in any manner
    1. Used in whole or in part for "business"; or              for any "business" purpose.
    2. Rented or held for rental to any person not a         9. 9250 on property, away from the "residence
         tenant of the dwelling, unless used solely as a         premises," used at any time or in any manner
         private garage.                                         for any "business" purpose. However, this
    The Iimit of liability for this coverage will not be         Iimit does not apply to loss to adaptable
    more than 10% of the Iimit of liability that applies         electronic apparatus as described in Special
    to Coverage A. Use of this coverage does not                  Limits 10. and 11. below.
    reduce the Ccverage A lirriit of iiability.              10. e 1000 for Ioss to electronic apparatus, while in
    COVERAGE C - Personal Property                                or upon a motor vehicle or other motorized
    We cover personal property owned or used by an                Iand conveyance, if the electronic apparatus is
    "insured" while it is anywhere in the world. At               equipped to be operated by power from the
    your request, we will cover personal property                 electrical system of the vehicle or conveyance
    owned by:                                                     while retaining its capability of being operated
    1. Others while the property is on the part of the            by other sources of power. Electronic
        "residence premises" occupied by an                       apparatus includes:
         "insured";                                               a. Accessories or antennas; or
    2. A guest or a "residence employee," while the               b. Tapes, wires, records, discs or other media;
        property is in any residence occupied by an
                                                                for use with any electronic apparatus.
         "insured."
                                                             11. el000 for loss to electronic apparatus, while
    Our limit of liability for personal property usually
                                                                not in or upon a motor vehicle or other
    Iocated at an "insured's" residence, other than the
                                                                motorized land conveyance, if the electronic
    "residence premises," is 10% of the limit of
    Iiability for Coverage C, or el000, whichever is              apparatus:
    greater. Personal property in a newly acquired                a. Is equipped to be operated by power from
    principal residence is not subject to this Iimitation              the electrical system of the vehicle or
    for the 30 days from the time you begin to move                    conveyance while retaining its capability of
    the property there.
                                                                       being operated by other sources of power;
    Special Limits of Liability. These limits do not              b.   Is away from the "residence premises";
                                                                       and
    increase the Coverage C Iimit of iiability. The
    special Iimit for each nrimbered category below is            C.  is used at any time or in any manner for
    the total limit for each loss for all property in that            any "business" purpose.
    category.                                                     Electronic apparatus inc!udes:
    1. e200 on money, bank notes, bullion, gold                   a.   Accessories or antennas; or
        other than goldware, silver other than                    b. Tapes,
                                                                     Tapes, wires, records,discs
                                                                            wires, records, discs or other
        silverware, platinum, coins and medals.                        media;
    2. el000 on securities, accounts, deeds,                    for use with any electronic apparatus.
       evidences of debt, letters of credit, notes other     Property Not Covered. We do not cover:
       than bank notes, manuscripts, personal                1. Articles separately described and specifically
         records, passports, tickets and stamps. This             insured in this or other insurance;
         dollar limit applies to these categories            2.   Animals, birds or fish;
         regardless of the medium (such as paper or          3.   Motor vehicles or all other motorized land
         computer software) on which the material                 conveyances.
         exists.                                                  This includes:
         This Iimit includes the cost to research, replace
                                                                  a.   Their equipment and accessories; or
         or restore the information from the lost or
                                                                  b.   Electronic apparatus that is designed to be
        damaged material.
                                                                       operated solely by use of the power from
    3. el000 on watercraft, including their trailers,
                                                                       the electrical system of motor vehicles or
         furnishings, equipment and outboard engines                   all other motorized land conveyances.
         or mo?ors.
                                                                       Electronic apparatus includes:
    4.   11000 on trailers not used with watercraft.
                                                                       (1 ) Accessories or antennas; or
    s.   11000 for loss by theft of jewelry, watches,
                                                                                                            Page 2 of 16
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               (2) Tapes, wires, records, discs or other           elsewhere.
                    media;                                     2. If a Ioss covered under this Section makes that
               for use with any electronic apparatus.              part of the "residence premises" rented to
               The exclusion of property described in 3.a.         others or held for rental by you not fit to Iive
               and 3.b. above applies only while the               in, we cover the:
               property is in or upon the vehicle or                    Fair Rental Value, meaning the fair rental
          conveyance:                                                   vali'e of that part of athe "residence
        We do cover vehicles or conveyances not                         premises" rented to others or held for rental
        subject to motor vehicle registration which are:                by you Iess any expenses that do not
        a. Used to service an "insured's" residence;                    continue while the premises is not fit to Iive
               or                                                       in.
        b. Designed for assisting the handicapped;                 Payment will be for the shortest time required
    4. Aircraft and parts. Aircraft means any                      to repair or replace that part of the premises
        contrivance used or designed for flight, except            rented or held for rental.
        model or hobby aircraft not used or designed           3. If a civil authority prohibits you from use of the
        to carry people or cargo;                                   "residence premises" as a result of direct
    s. Property of roomers, boarders and other                      damage to neighboring premises by a Peril
        tenants, except property of roomers and                     Insured Against in this policy, we cover the
        boarders related to an "insured";                           Additional Living Expense and Fair Rental Value
    6. Property in an apartment regularly rented or                 Ioss as provided under 1 . and 2. above for no
        held for rental to others by an "insured,"                 more than two weeks.
        except as provided in Additional Coverages             The periods of time under 1 ., 2. and 3. above are
        10.;                                                   not Iimited by expiration of this policy.
    7. Property rented or held for rental to others off        We do not cover Ioss or expense due to
        the "residence premises";                              cancellation of a lease or agreement.
    8. "Business" data, including such data stored in:         ADDIT?ONAL COVERAGES
        a. Books of account, drawings or other paper           1. Debris Removal. We will pay your reasonable
               records; or                                         expense for the removal of:
        b. Electronic data processing tapes, wires,                a. Debris of covered property if a Peril Insured
            records, discs or other software media;                    Against that applies to the damaged
        However, we do cover the cost of blank                         property causes the Ioss; or
        recording or storage media, and of                         b. Ash, dust or particles from a volcanic
        pre-recorded computer programs available on                    eruption that has caused direct Ioss to a
        the retail market; or                                          building or property contained in a building.
    9. Credit cards or fund transfer cards except as               This expense is included in the Iimit of liability
        provided in Additional Coverages 6.                        that applies to the damaged property. If the
    COVERAGE D - Loss Of Use                                       amount to be paid for the actuat damage to the
    The Iimit of liability for Coverage D is the total limit       property p!us the debris removal expense is
    for all the coverages that follow.                             more than the Iimit of Iiability for the damaged
    1. If a Ioss covered under this Section makes that             property, an additional 5% of that limit of
        part of the "residence premises" where you                 Iiability is available for debris removal expense.
        reside not fit to live in, we cover, at your               We will also pay your reasonable expense, up
        choice, either of the following. However, if the           to !?500, for the removal from the "residence
        "residence premises" is not your principal place           premises" of:
        of residence, we will not provide the option               a. Your tree(s) felled by the peril of
        under paragraph b. below.                                        Windstorm or Hail;
        a. Additional Living Expense, meaning any                  b. Your tree(s) felled by the peril of Weight of
            necessary increase in living expenses                        Ice, Snow or Sleet; or
            incurred by you so that your household                 C. A neighbor's tree(sl felled by a Peril
            can maintain its normal standard of Iiving;               Insured Against under Coverage C;
            or
                                                                   provided the treels) damages a covered
       b. Fair Rental Value, meaning the fair rental               structure. The s500 Iimit is the most we will
            value of that part of the "residence
                                                                   pay in any one Ioss regardless of the number
            premises" where you reside less any                    of fallen trees.
            expenses that do not continue while the
                                                               2. Reasonable Repairs. In the event that covered
            premises is not fit to Iive in.
                                                                   property is damaged by an applicable Peril
       Payment under a. or b. will be for the shortest
                                                                   Insured Against, we will pay the reasonable
       time required to repair or replace the damage
                                                                   cost incurred by you for necessary measures
       or, if you permanently relocate, the shortest
                                                                   taken solely to protect against further damage.
       time required for your household to settle
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                                                                                              >:W INSURANCE




     If the measures taken involve repair to other                 C.   Loss to an "insured" caused by forgery or
     damaged property, we will pay for those                            alteration of any check or negotiable
     measures only if that property is covered under                    instrument; and
     this policy and the damage to that property is                d. Loss to an "insured" through acceptance in
     caused by an applicable Peril Insured Against.                    good faith of counterfeit United States or
     This coverage: ,                                                  Canadian paper currency.
     a. Does not increase the Iimit of liability that              We do not cover use of a credit card or fund
         applies to the covered property;                          transfer card:

     b. Does not relieve you of your duties, in case               a.   By a resident of your household;
         of a Ioss to covered property, as set forth               b.   By a person who has been entrusted with
         in SECT?ONI-CONDIT?ON 2.d.                                     either type of card; or
3.   Trees, Shrubs and Other Plants. We cover                      C.   If an "insured" has not complied with all
     trees, shrubs, plants or lawns, on the                             terms and conditions under which the
     "residence premises," for Ioss caused by the                       cards are issued.
     following Perils Insured Against: Fire or                     All Ioss resulting from a series of acts
     ia:ghtriing, Explcsi0ri, Fliot or ciayii cc)rrirriotl0n,      comml't{e€:J b'l an'ya one pB'-sorl or !n wh:ch arl'l
     Aircraft, Vehicles not owned or operated by a                 one person is concerned or implicated is
     resident of the "residence premises, "                        considered to be one Ioss.
     Vandalism or malicious mischief or Theh.                      We do not cover Ioss arising out of "business"
     We will pay up to 5'3"o of the Iimit of liability             use or dishonesty of an "insured."
     that applies to the dwelling for all trees,                   This coverage is additional insurance. No
     shrubs, plants or Iawns. No more than 1500                    deductible applies to this coverage.
     of this limit will be available for any one tree,             Defense:
     shrub or plant. We do not cover property                      a.   We may investigate and settle any claim or
     grown for "business" purposes.                                     suit that we decide is appropriate. Our
     This coverage is additional insurance.                             duty to defend a claim or suit ends when
4.   Fire Department Service Charge. We will pay                        the amount we pay for the loss equals our
     up to e500 for your Iiability assumed by                           Iimit of Iiability.
     contract or agreement for fire department                     b. If a suit is brought against an "insured" for
     charges incurred when the fire department is                       liability under the Credit Card or Fund
     called to save or protect covered property from                    Trarisier Card coverage, we will provide a
     a Peri) Insured Against. We do riot cover lire                     delense at our expense by counsel of our
     department service charges if the property is                      choice.
     located within the Iimits of the city,                        C.   We have the option to defend at our
     municipality or protection district furnishing the                 expense an "insured" or an "insured's"
     fire department response.                                          bank against any suit for the enforcement
     This coverage is additional insurance. No                          of payment under the Forgery coverage.
     deductible applies to this coverage.                       7. Loss Assessment. We will pay up to 01000
s.   Property Removed. We insure covered                            for your share of loss assessment charged
     property against direct Ioss from any cause                    during the policy period against you by a
     while being removed from a premises                            corporation or association of property owners,
     endangered by a Peril Insured Against and for                 when the assessment is made as a result of
     no more than 30 days while removed. This                      direct Ioss to the property, owned by all
     coverage does not change the limit of liability               members collectively, caused by a Peril Insured
     that applies to the property being removed.                   Against under COVERAGE A - DWELLING,
6.   Credit Card, Fund Transfer Card, Forgery and                  other than earthquake or land shock waves or
     Counterfeit Money.                                            tremors before, during or after a volcanic
     We will pay up to 0500 for:                                   eruption.
     a. The legal obligation of an "insured" to                    This coverage applies only to Ioss
        pay because of the theft or unauthorized                   assessments charged against you as owner or
         use of credit cards issued to                             tenant of the "residence premises."
         or registered in an "insured's" name;                     We do not cover Ioss assessments charged
     b. Loss resulting from theft or unauthorized                  against you or a corporation or association of
         use of a fund trarisTer card used for                     property owners by any governmental body.
         deposit, withdrawal or transfer of funds,                 The limit of 01000 is the most we will pay
         issued to or registered in an "insured's"                 with respect to any one loss, regardless of the
                                                                   number of assessments.
         name;

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        Condition 1. Policy Period, under SECTIONS l        a.   Fire or lightning.
        AND 11 CONDITIONS, does not apply to this           b.   Windstorm or hail.
        coveraqe.                                                This peril does not include loss to the
    8. Collapse. We insure for direct physical loss to           property contained in a building caused by
        covered property involving collapse of a                 rain, snow, sleet, sand or dust unless the
        building or any part of a building caused only           direct force o,f wind or hail damages the
        bq one or more of the following:                         building causing an opening in a roof or wall
        a. Perils Insured Against in COVERAGE C -                and the rain, snow, sleet, sand or dust enters
            PERSONAL PROPERTY. These perils apply                through this opening.
            to covered buildings and personal property           This peril includes Ioss to watercraft and
            for Ioss insured by this additional coverage;        their trailers, furnishings, equipment, and
        b.  Hidden decay;                                        outboard engines or motors, only while inside
        C.  Hidden insect or vermin damage;                      a fully enclosed building.
        d.  Weight of contents, equipment, animals or       C.   Explosion.
            people;                                         d.   Riot or civil commotion.
        e.  Weight of rain which collects on a roof; or     e.   Aircr:alt, including self-propelled missiles and
        f.   Use of defective material or methods in             spacecraft.
          construction, remodeling or renovation if         f. Vehicles.
          the collapse occurs during the course of          g.   Smoke, meaning sudden and accidental
          the construction, remodeling or renovation.            damage from smoke.
       Loss to an awning, fence, patio, pavement,                This peril does not include loss caused by
       swimming pool, underground pipe, flue, drain,             smoke from agricultural smudging or
       cesspool, septic tank, foundation, retaining              industrial operations.
       wall, bulkhead, pier, wharf or dock is not                Vandalism or malicious mischief.
                                                            h.
        included under items b., c., d., e., and f.
       unless the Ioss is a direct result of the collapse
                                                            i.   Falling objems.
       of a building.                                            This peril does not include Ioss to property
       Collapse does not include settling, cracking,             contained in a building unless the roof or an
       shrinking, bulging or expansion.                          outside wall of the building is first damaged
                                                                 by a failing object. Damage to the falling
       This coverage does not increase the Iimit of
                                                                 object itself is not included.
       liability applying to the damaged covered
       property.                                            1.  Weight of ice, snow or sleet which causes
    9. Glass or Safety Glazing Material.
                                                                damage to property contained in a building.
       We cover:
                                                            k. Accidental discharge or overflow of water or
                                                                steam from within a plumbing, heating, air
       a. The breakage of glass or safety glazing
                                                                conditioning or automatic fire protective
           material which is part of a covered
                                                                sprinkler system or from within a household
             building, storm door or storm window; and
                                                                3ppliance.
       b. Damage to covered property by glass or
                                                                This peril does not include Ioss:
           safety glazing material which is part of a
           building, storm door or storm window.                (1) To the system or appliance from which
                                                                     the water or steam escaped;
       This coverage does not include Ioss on the
       "residence premises" if the dwelling has been             (2) Caused by or resulting from freezing
       vacant for more than 30 consecutive days                      except as provided in the peril of freezing
       immediately before the loss. A dwelling being                 below; or
       constructed is not considered vacant.                     (3) On the "residence premises" caused by
       Loss for damage to glass will be settled on the               accidental discharge or overflow which
       basis of replacement with safety glazing                     occurs off the "residence premises."
       materials when required by ordinance or law.             In this peril, a plumbing system does not
       This coverage does not increase the limit of             include a sump, sump pump or related
       liability that applies to the damaged property.          equipment.
    lO.Landlord's Furnishings. We will pay up to            I. Sudden and accidental tearing apart,
       92500 for your appliances, carpeting and other           cracking, burning or bulging of a steam or
       household furnishings, in an apartment on the            hot water heating system, an air conditioning
       "residence premises" regularly rented or held            or automatic fire protective sprinkler system,
       for rental to others by an "insured," for Ioss           or an appliance for heating water.
       caused only by the following Perils Insured              We do not cover loss caused by or resulting
       Against:                                                 from freezing under this peril.

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    m.   Freezing of a plumbing, heating,              air     n. Sudden and accidental damage trom
         conditioning or automatic fire protective                 artificially generated electrical current.
         sprinkler system or of a household appliance.             This peril does not include toss to a tube,
         This peril does not include loss on the                   transistor or similar electronic component.
         "residence prernises" while the dwelling is           0.  Volcanic eruption other than Ioss caused by
         unoccupied, unless you have used reasonable               earthquake, Iand shock waves or tremors.
         care to:                                              Th612500 Iimit is the mos;t we will pay in any
         (1) Maintain heat in the building; or                 one loss regardless of the number of appliances,
         (2) Shut off the water supply and drain the           carpeting or other household furnishings involved
             system and appliances of water.                   in the Ioss.

    l                                    SECTION l - PERILS INSURED AGAINST                                       ]
    COVERAGE A - DWELLING and COVERAGE B                             {5) Discharge, rJispersal, seepage,
    OTHER STRUCTURES                                                     migration, release or escape of
    We insure against risk of direct Ioss to property                    pollutants unless the discharge,
    described in Coverages A and B only if that loss is                  dispersal, seepage, migration, release
    a physical loss to property. We do not insure,                       or escape is itseif caused by a Peril
    however, for loss:                                                   Insured Agairist under Coverage C of
    1. Involving collapse, other than as provided in                    this policy.
        Additional Coverage 8.;                                          Pollutants means any solid, Iiquid,
    2. Caused by:
                                                                         gaseous or thermal irritant or
         a. Freezing of a plumbing, heating, air                         contaminant, including smoke, vapor,
                                                                          soot, fumes, acids, alkalis, chemicals
             conditioning or automatic fire protective                    and waste. Waste includes materials
             sprinkler system or of a household
                                                                          to be recycled, reconditioned or
             appliance, or by discharge, leakage or
                                                                          reclaimed;
             overflow from within the system or
             appliance caused by freezing. This                       (6) Settling, shrinking, bulging or
             exclusion applies only while the dwelling is                 expansion, including resultant cracking,
             vacant, unoccupied or being constructed,                     of pavements, patios, foundations,
             unless you have used reasonable care to:                     walls, lloors, roofs or ceilings;
                                                                      (7) Birds, vermin, rodents, or insects; or
             m Maintain heat in the building; or                      (8)Animals owned or kept by an
             12) Shut off the water supply and drain the                  "insured."
                 system and appliances of water;                     If any of these cause vvaier damage not
         b. Freezing, thawing, pressure or weight of                 otherwise excluded, from a plumbing,
             water or ice, whether driven by wind or                 heating, air conditioning or automatic fire
              not, to a:                                             protective sprinkler system or household
              (1) Fence, pavement, patio or swimming                 appliance, we cover Ioss caused by the
                    pool;                                            water including the cost of tearing out and
              12) Foundation, retaining wall, or bulkhead;           replacing any part of a building necessary
                    or
                                                                     to repair the system or appliance. We do
              (3) Pier, wharf or dock;                               not cover Ioss to the system or appliance
         C.   Theft in or to a dwelling under                        from which this water escaped.
              construction, or of materials and supplies     3. Excluded under Section l - Exclusions.
              for use in the construction until the          Under items 1. and 2., any ensuing loss to
              dwelling is finished and occupied;             property described in Coverages A and B not
         d. Vandalism and malicious mischief if the          excluded or excepted in this policy is covered.
              dwelling has been vacant for more than 30      COVERAGE C - PERSONAL PROPERTY
              consecutive days immediately before the        We insure for direct physical Ioss to the property
              1055. A dwelling being constructed is not      described in Coverage C caused by a peril Iisted
              considered vacant;                             below unless the loss is excluded in SECTION I -
         e.   Any of the following:                          EXCLUSIONS.
              (1) Wear and tear, marring, deterioration;     1 . Fire or lightning.
              (2) Inherent vice, Iatent defect, mechanical   2. Windstorm or hail.
                    breakdown;                                   This peril does not include loss to the property
              (3) Smog, rust or other corrosion, mold,           contained in a building caused by rain, snow,
                    wet or dry rot:                              sleet, sand or dust unless the direct force of
              (4) Smoke from agricultural smudging      or       wind or hail damages the building causing an
                  industrial operations;                         opening in a roof or wall and the rain, snow,
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             sleet, sand or dust enters through this opening.          contained in a building unless the roof or an
             This peril includes Ioss to watercraft and their          outside wall of the building is first damaged by
             trailers, furnishings, equipment, and outboard            a falling object. Damage to the falling object
             engines or motors, only while inside a fully              itself is not included.
             enclosed building.                                     11.Weight of ice, snow or sleet which causes
    3.       [gplosion.                                                damage to property contained in a building.
    4.       Riot or civil commotion.                               12. Accidental 'dischar(;1e or overflow 6f vvatev or
        s.   Aircraft, including self-propelled missiles and           steam from within a plumbing, heating, air
             spacecraft.                                               conditioning or automatic fire protective
        6.   Vehicles.                                                 sprinkler system or from within a household
        7.   Smoke, meaning sudden and accidental                      appliance.
             damage from smoke.                                        This peril does not include Ioss:
             This peril does not include Ioss caused by                a. To the system or appliance from which the
             smoke from agricultural smudging or industrial                water or steam escaped;
             operations.                                               b. Caused by or resulting from freezing except
    8.       Vandalism or malicious mischief.                              as provided in the peril of freezing below;
    9.       Theft, including attempted theft and Ioss of                   or

             property from a known place when it is Iikely             C.  On the "residence premises" caused by
             that the property has been stolen.                            accidental discharge or overflow which
             This peril does not include loss caused by                    occurs off the "residence premises."
             theft:                                                    In this peril, a plumbing system does not
             a. Committed by an "insured";                              include a sump, sump pump or related
             b. In or to a dwelling under construction, or              equipment.
                 of materials and supplies for use in the           13. Sudden and accidental tearing apart, cracking,
                 construction until the dwelling is finished            burning or bulging of a steam or hot water
                 and occupied; or                                       heating system, an air conditioning or
             C.  From that part of a "residence premises"               automatic fire protective sprinkler system, or
                 rented by an "insured" to other than an                an appliance for heating water.
                  "insured."                                            We do not cover Ioss caused by or resulting
                  This peril does not include loss caused by            from freezing under this peril.
                  theft that occurs off the "residence              14.Freezing of a plumbing, heating, air
                  premises" of:                                         conditioning or automatic fire protective
             a.   Property while at any other residence                 sprinkler system or of a household appliance.
                  owned by, rented to, or occupied by an                This peril does not include loss on the
                  "insured" except while an "insured" is                "residence premises" while the dwelling is
                  temporarily living there. Property of a               unoccupied, unless you have used reasonable
                  student who is an "insured" is covered               care to:
                while at a residence away from home if the              a. Maintain heat in the building; or
                student has been there at any time during               b. Shut off the water supply and drain the
                the 45 days immediately before the Ioss;                    system and appliances of water.
             b. Watercraft, and their furnishings,                  15. Sudden and accidental damage from artificially
                equipment and outboard engines or                       generated electrical current.
                  motors; or                                            This peril does not include loss to a tube,
             c. Trailers and campers.                                   transistor or similar electronic component.
    10. Falling objects.                                            l6.Volcanic eruption other than Ioss caused by
        This peril does not include Ioss to property                    earthquake, Iand shock waves or tremors.

    [                                                 SECTION I - EXCLUSIONS                                              1
    1.       We do not insure for loss caused directly or              b. Earth Movement, meaning earthquake
             indirectly by any of the following. Such Ioss is              including land shock waves or tremors
             excluded regardless of any other cause or                     before, during or after a volcanic
             event contributing concurrently or in any                     eruption; Iandslide; mine subsidence;
             sequence to the loss.                                         mudflow; earth sinking, rising or shifting;
                                                                           unless direct loss by:
             a.   Ordinance or Law, meaning enforcement of
                                                                            (1) Fire;
                  any ordinance or Iaw regulating the
                                                                            (2) Explosion; or
                  construction, repair, or demolition of a
                                                                            13) Breakage of glass or safety glazing
                  building or other structure, unless
                                                                                material which is part of a building,
                  specifically provided under this policy.
                                                                                storm door or storm window;
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             ensues and then we will pay only for the                     13) Destruction, seizure or use for a military
             ensuing Ioss.                                                   purpose.
             This exclusion does not apply to loss by                     Discharge of a nuclear weapon will be
             theft.                                                       deemed a warlike act even if accidental.
        C.   Water Damage, meaning:                             g.        Nuclear Hazard, to the extent set forth in the
                                                                          Nuclear Hazard Clause of SECTION I
             (1) Flood, surfqce water, waves, tidal
                 water, overflow of a body of water, or                   COND?TIONS.
                 spray from any of these, whether or            h.        Intentional Loss, meaning any Ioss arising out
                 not driven by wind;                                      of any act committed:
             (2) Water which backs up through sewers                      11) By or at the direction of an "insured";
                 or drains or which overflows from a                         and

                 sump; or
                                                                          12) With the intent to cause a loss.
             (3) Water below the surface of the ground,       2. We do not insure for loss to property described
                 including water which exerts pressure            in Coverages A and B caused by any of the
                 on or seeps or leaks through a building,         following. However, any ensuing Ioss to
                 sidewalk, driveway, foundation,                  property described in Coverages A and B not
                 swimming pool or other structure.                excluded or excepted in this policy is covered.
                                                                     a. Weather conditions.              Howeve5 this
             Direct Ioss by fire, explosion or theft
             resulting from vtaier damage is covered.                       exclusion only applies if weather conditions
        d. Power Failure, meaning the failure of power                      contribute in any way with a cause or
             or other utility service if the failure takes                  event excluded in paragraph 1. above to
             place off the "residence premises." But, if                    produce the Ioss;
             a Peril Insured Against ensues on the                   b. Acts or decisions, including the failure to
             "residence premises," we will pay only for                  act or decide, of any person, group,
             that ensuing Ioss.                                          organization or governmental body;
        e.   Neglect, meaning neglect of the "insured"               C.  Faulty, inadequate or defective:
             to use all reasonable means to save and                     (1) Planning, zoning, development,
             preserve property at and aller the time of a                    surveying, siting;
             Ioss.                                                       02) Design, specifications, workmanship,
        f.   War, including the following and any                            repairr construction, renovation,
             consequence of any of the following:                            remodeling, grading, compaction;
             (1) Undeclared war, civil war, insurrection,                03) Materials used in repair, construction,
                 rebellion or revolution;                                    renovation or remodeling; or
                                                                            14) Maintenance;
             (2) Warlike act by a military force        or

                 military personnel: or                                     of part or all of any property whether on or
                                                                            off the "residence premises."
    [                                           SECTION l - CONDITIONS                                                    l
    1. Insurable Interest and Limit of Liability.                           01) Make reasonable and necessary repairs
        Even if more than one person has an insurable                          to protect the property; and
        interest in the property covered, we will not be                    02) Keep an accurate record of repair
        Iiable in any one loss:                                                 expenses;
        a.   To the "insured" for more than the amount               e.     Prepate an inventory of damaged personal
             of the "insured's" interest at the time of                     property showing the quantity, description,
             loss; or                                                       actual cash value and amount of Ioss.
        b.   For more than the applicable limit of                          Attach all bills, receipts and related
          liability.                                                        documents that justify the figures in the
    2. Your Duties After Loss. In case of a Ioss to                         inventory;
        covered property, you must see that the                      f. As often as we reasonably require:
        following are done:                                              11) Show the damaged property;
                                                                            12) Provide us with records and documents
        a.   Give prompt notice to us or our agent;
                                                                                we request and permit us to make
        b.   Notify the police in case of Ioss by theft;
                                                                                copies; and
        C.   Notify the credit card or fund transfer card                   13) Submit to examination under oath,
             company in case of Ioss under Credit Card                         while not in the presence of any other
             or Fund Transfer Card coverage;                                   "insured," and sign the same;
        d.   Protect the property from further damage.               g. Send to us, within 60 days after our
             If repairs to the property are required, you               request, your signed, sworn proof of Ioss
             must:
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            which sets forth, to the best of your          12) If, at the time of loss, the amount of
            knowledge and belief:                              insurance in this policy on the damaged
            (1 ) The time and cause of loss;                   building is Iess than 80% of the full
            (2) The interest of the "insured" and all          replacement cost of the building
                others in the property involved and all        immediately before the loss, we will
                Iiens on the property; ?                       pay the greater of the following
                                                               amounts, but allot mone than the Iimit 6f
            (3) Other insurance which may cover the
                                                               Iiability under this policy that applies to
                loss;
                                                               the building:
            (4) Changes in title or occupancy of the
                                                               (a) The actual cash value of that part
                property during the term of the policy;            of the building damaged; or
            (5) Specifications of damaged buildings            (b) That proportion of the cost to
                and detailed repair estimates;                     repair or replace, after application
            16) The inventory of damaged personal                  of deductible and without
                property described in 2.e. above;                  deduction for depreciation, that
            17) Receipts for additional Iiving expenses            part of the building damaged,
                incurred and records that support the              whieh the total amount of
                fair rental value loss; and                        insurance in this policy on the
            (8) Evidence or affidavit that supports a              damaged building bears to 80% of
                claim under the Credit Card, Fund                  the replacement cost of the
                Transfer Card, Forgery and Counterfeit             building.
                Money coverage, stating the amount         (3) To determine the amount of insurance
                and cause of Ioss.                             required to equal 80% of the full
    3. Loss Settlement. Covered property Iosses are            replacement cost of the building
       settled as follows:                                     immediately before the Ioss, do not
                                                               include the value of:
       a.   Property of the following types:
                                                               la) Excavations, foundations, piers or
            m Personal property;
                                                                   any supports which are below the
            (2) Awnings, carpeting, household                      undersurface of the Iowest
                appliances, outdoor antennas and                   basement floor;
                outdoor equipment, whether or not              lb) Those supports in (a) above which
                attached to buildings; and                         are below the surface of the ground
            (3) Structures that are not buildings;                 inside the foundation walls, if there
            at actual cash value at the time of loss but           is no basement; and
          not more than the amount required to                 (c) Underground flues, pipes, wiring
          repair or replace.                                       and drains.
       b. Buildings under Coverage A or B at               (4) We will pay no more than the actual
          replacement cost without deduction for               cash value of the damage until actual
          depreciation, subiect to the following:              repair or replacement is complete.
          (1) If, at the time of Ioss, the amount of           Once actual repair or replacement is
              insurance in this policy on the damaged          complete, we will settle the loss
              building is 80% or more of the full              according to the provisions of b.(1 ) and
              replacement cost of the building                b.(2) above.
              immediately before the Ioss, we will            However, if the cost to repair or
              pay the cost to repair or replace, after        replace the damage is both:
              application of deductible and without            (a) Less than 5% of the amount of
              deduction for depreciation, but not                  insurance in this policy on the
              more than the least of the following                 building; and
               amounts:                                       lb) Less than e2500:
               (a) The limit of liability under this          we will settle the loss according to the
                   policy that applies to the building;       provisions of bil) and b.l2) above
                                                              whether or not actual                 repair or
               (b) The replacement cost of that part
                   of the building damaged for like            replacement is complete.
                   construction and use on the same        (5) You may disregard the replacement
                                                               cost Ioss settlement provisions and
                   premises; or
                                                               make claim under this policy for Ioss or
               (c) The necessary amount actually
                                                               damage to buildings on an actual cash
                   spent to repair or replace the
                                                               value basis. You may then make claim
                   damaged building.

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       within 180 days after Ioss for any additional             a. Reach an agreement with you;
       liability according to the provisions of this             b. There is an entry of a final judgement; or
       Condition 3. Loss Settlement.                             c. There is a filing of an appraisal award with
    4. Loss to a Pair or Set. In case of loss to a pair               uS.

       or set we may elect to:                                11 . Abandonment      of Property. We need         not

       a.   Repair or replace any part to restore the            accept any         property abandoned by         an

                                                                 "insured."
            pair or set tao its vali:ie before the losi; or
       b. Pay the difference between actual cash              12. Mortgage Clause.
                                                                  The word "mortgagee" includes trustee.
           value of the property before and after the
            loss.
                                                                  If a mortgagee is named in this policy, any Ioss
                                                                  payable under Coverage A or B will be paid to
    s. Glass Replacernent. Loss for damage to glass               the mortgagee and you, as interests appear. If
        caused by a Peril Insured Against will be                 more than one mortgagee is named, the order
        settled on the basis of replacement with safety
                                                                  of payment will be the same as the order of
        glazing materials when required by ordinance
                                                                  precedence of the mortgages.
       or law.
                                                                 If we deny your claim, that denial will not
    6. Appraisal. If you and we fail to agree on the             appiy 10 a Vaijd ciaim of 'ihF- rr?ortgagee, tf the
        amount of Ioss, either may demand an                     mortgagee:
        appraisal of the loss. In this event, each party         a. Notifies us of any change in ownership,
        will choose a competent appraiser within 20                  occupancy or substantial change in risk of
        days after receiving a written request from the              which the mortgagee is aware;
        other. The two appraisers will choose an                 b. Pays any premium due under this policy on
        umpire. If they cannot agree upon an umpire                  demand if you have neglected to pay the
        within 15 days, you or we may request that                     premium; and
        the choice be made by a judge of a court of              C.   Submits a signed, sworri statement of loss
        record in the state where the "residence
                                                                      within 60 days after receiving notice from
       premises" is Iocated. The appraisers will                      us of your failure to do so. Policy
       separately set the amount of loss. If the                      conditions relating to Appraisal, Suit
       appraisers submit a written report of an                       Against Us and Loss Payment apply to the
       agreement to us, the amount agreed upon will                    mortgagee.
       be the amount of Ioss. If they fail to agree,             If we decide to cancel or not to renew this
       they will submit their differences to the umpire.         policy, the mortgagee will be notified at least
       A decision agreed to by any two will set the              10 days before the date cancellation or
        amount of IOSS.
                                                                 nonrenewal takes effect.
        Each party will:                                         If we pay the mortgagee for any loss and deny
       a. Pay its own appraiser; and                             payment to 70u:
       b. Bear the other expenses of the appraisal               a. We are subrogated to all the ri(;)hts of the
            and umpire equally.                                      mortgagee granted under the mortgage on
    7. Other Insurance. If a loss covered by this                     the property; or
       policy is also covered by other insurance, we              b. At our option, we may pay to the
       will pay only the proportion of the Ioss that the             mortgagee the whole principal on the
       limit of liability that applies under this policy             mortgage plus any accrued interest. In this
       bears to the total amount of insurance covering               event, we will receive a full assignment
       the Ioss.                                                     and transfer of the mortgage and all
    8. Suit Against Us. No action can be brought                     securities held as collateral to the mortgage
        unless the policy provisions have beeri                        debt.
        complied with and the action is starred within           Subrogation will not impair the right of the
       one year aller the date of loss.                          mortgagee to tecover the full amount of the
    9. Our Option. If we give you written notice                 mortgagee's claim.
        within 30 days after we receive your signed,          13.No Benefit to Bailee. We will not recognize
        sworn proof of loss, we may repair or replace            any assignment or grant any coverage that
        any part of the damaged property with Iike               benefits a person or organization holding,
        property*                                                storing or moving property for a fee regardless
    10. Loss Payment. We will adjust all losses with             of any other provision of this policy.
        you. We will pay you unless some other                14. Nuclear Hazard Clause.
        person is named in the policy or is Iegally              a. "Nuclear Hazard" means any nuclear
        entitled to receive payment. Loss will be                    reaction, radiation, or radioactive
        payable 60 days after we receive your proof of                 contamination, all whether controlled or
        loss and:                                                      uncontrolled or however caused, or any
                                                                       consequence of any of these.
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           b. Loss caused by the nuclear hazard will not            under this policy, you or we will notify the
               be considered loss caused by fire,                   other of the recovery. At your option, the
               explosion, or smoke, whether these perils            property will be returned to or retained by you
               are specifically named in or otherwise               or it will become our property. If the recovered
               included within the Perils Insured Against           property is returned to or retained by you, the
                in Section I.                                       loss payment will be adjusted based on the
           C.   This policy does not aapply urider Section I        amount you received for the recovered
                to Ioss caused directly or indirectly by            property.
                nuclear hazard, except that direct Ioss by       l6.Volcanic Eruption Period. One or more
                fire resulting from the nuclear hazard is           volcanic eruptions that occur within a 72-hour
                covered.
                                                                    period will be considered as one volcanic
        15. Recovered Property. If you or we recover any            eruption.
            property for which we have made payment
    r                                        SECTION 11 - L?ABILITY COVERAGES                                          l
    COVERAGE E - Personal Liability                             causing "bodily injury." Medical expenses means
    If a claim is made or a suit is brought against an          reasonable charges for medical, surgical,
    "insured" for damages because of "bodily injury"            x-ray, dental, ambulance, hospital, professional
    or "property damage" caused by an "occurrence"              nursing, prosthetic devices and funeral services.
    to which this coverage applies, we will:                    This coverage does not apply to you or regular
    1. Pay up to our Iimit of Iiability for the damages         residents of your household except "residence
         for which the "insured" is Iegally Iiable.             employees." As to others, this coverage applies
         Damages include prejudgment interest awarded           only:
         against the "insured"; and                             1. To a person on the "insured Iocation" with the
    2. Provide a defense at our expense by counsel of               permission of an "insured"; or
         our choice, even if the suit is                        2. To a person off the "insured location," if the
       groundless, false or fraudulent. We may                      "bodily injury" :
       investigate and settle any claim or suit that we             a. Arises out of a condition on the "insured
       decide is appropriate. Our duty to settle or                      Iocation" or the ways immediately
       defend ends when the amount we pay for                            adjoining;
       damages resulting from the "occurrence"                      b.   Is caused by the activities of an "insured";
       equals our limit of Iiability.                               C.   Is caused by a "residence employee" in the
    COVERAGE F - Medical Payments To Others                                     of the "residence employee's"
                                                                         coi.irse

    We will pay the necessary medical expenses that                     employment by an "insured"; or
    are incurred or medically ascertained within                    d. Is caused by an animal owned by or in the
    three years from the date of an accident                             care of an "insured."

    r                                            SECTION 11 - EXCLUSIONS                                               l
    1. Coverage E - Personal Liability and Coverage F                    (2) In part for use only as a residence,
        - Medical Payments to Others do not apply to                         unless a single family unit is intended
        "bodily injury" or "property damage":                                for use by the occupying family to
        a. Which is expected or intended by the                              Iodge more than two roomers or
                "insured";                                                   boarders; or
           b. Arising out of or in connection with a                    (3) In part, as an office, school, studio or
               "business" engaged in by an "insured."                       private garage;
              This exclusion applies but is not limited to          d. Arising out of the rendering of or failure to
              an act or omission, regardless of its nature              render professional services;
              or circumstance, involving a service or duty          e.  Arising out of a premises:
              rendered, promised, owed, or implied to be                (1) Owned by an "insured";
                                                                         (2) Rented to an "insured"; or
              provided because of the nature of the
                "business":                                              (3) Rented to others by an "insured";
                                                                         that is not an "insured location";
          C.    Arising out of the rental or holding for
                                                                    f. Arising out of:
                rental of any part of any premises by an
                                                                        m The ownership, maintenance, use,
                "insured." This exclusion does not apply
                                                                             Ioading or unloading of motor vehicles
                to the rental or holding for rental of an                    or all other motorized Iand
                "insured Iocation":
                                                                             conveyances, including trailers, owned
                (1) On an occasional basis if used only as                   or operated by or rented or Ioaned to
                   a residence;                                              an "insured";
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       02) The entrustment by an "insured" of a                   (d) One or more outboard engines or
           motor vehicle or any other motorized                         motors with more than 25 total
           Iand conveyance to any person: or                            horsepower if the outboard engine
       (3) Vicarious liability, whether or not                          or motor is not owned by an
                                                                        "insured";
           statutorily imposed, for the actions of a
           c5ild or minor psing a conveyance                      Ie) Outboard engines or motors of
           excluded in paragraph m or 12) above.                        morei than '25 total horsipower
                                                                        owned by an "insured" if:
       This exclusion does not apply to:
                                                                        (i) You acquire them prior to the
        11 ) A trailer not towed by or carried on a                         policy per'u:id; and
           motorized Iand conveyance.
                                                                            la) You declare them at policy
       (2) A motorized land conveyance designed                                 inception; or
           for recreational use off public roads,                           lb) Your intention to insure is
           not subject to motor vehicle                                         reported to us in writing
           registration and:                                                      within 45 days alser you
           la) Not owned by an "insured"; or                                      acquire the outboard
           (b) Ownea try an "insureo" and un an                                   engines or motors.
               "insured Iocation";                                      (ii) You acquire them during the
        (3) A motorized golf cart when used to                              policy period.
           play golf on a golf course;                                  This coverage applies for the policy
        (4) A vehicle or conveyance not subject to                      period.
            motor vehicle registration which is:              (2) That are sailing vessels, with                 or

            (a) Used to service an   an "insured's"               without auxiliary power:
               residence;                                         (a) Less than 26 feet in overall length;
            tb) Designed for assisting the                        lb) 26 feet or more in overall Iength,
                handicapped; or                                       not owned by or rented to an
                                                                        "insured."
            (c) In dead storage on an "insured
               Iocation" ;                                    (3) That are stored;
                                                       h.   Arising out of:
    g. Arising out of:
                                                            1l) The ownership, maintenance, use,
        (1) The ownership, mainteriance, use,                   Ioading or unloading of an aircraft;
            loading or unloading of an excluded             12) The entrustment by an "insured" of an
            watercrah described below;
                                                                aircraft to any person; or
        (2) The entrustment by an "insured" of an           13) Vicarious liability, whether or not
           excluded watercraft described below to
                                                                statutorily imposed, for the actions of a
           any person; or                                       child or minor using an aircraft.
        13) Vicarious liability, whether or not             An aircrall means any conmvance used or
           statutorily imposed, for the actions of a        designed for flight, except model or hobby
           child or minor using an excluded                 aircraft not used or designed to carry people
           watercraft described below.
                                                            or cargo;
        Excluded watercraft are those that are         i.   Caused directly or indirectly by war,
        principally designed to be propelled by             including the following and any consequence
        engine power or electric motor, or ate              of any of the following:
        sailing vessels, whether ovvned by or               (1) Undeclared war, civil war, insurrection,
        rented to an "insured." This exclusion                  rebellion or revolution;
        does not apply to watercraft:                       (2) Warlike act by a military force or military
        11) That are not sailing vessels and are                personnel; or
            powered by:                                     (3) Destruction, seizure or use for a military
            la) lnboard or inboard-outdrive engine              purpose.
                 or motor power of 50 horsepower            Discharge of a nuclear weapon will be
                 or less not owned by an "insured";         deemed a warlike act even if accidental;
            lb) Inboard or inboard-outdrive engine     1.   Which arises out of the transmission of               a

               or motor power of more than 50              communicable disease by an "insured";
                horsepower not owned by or             k. Arising out of sexual molestation, corporal
                rented to an "insured";                    punishment or physical or mental abuse: or
            lc) One or more outboard engines or        1. Arising out of the use, sale, manufacture,
                motors with 25 total horsepower or          delivery, transfer or possession by any
                less;                                       person of a Controlled Substance(s) as
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                defined by the Federal Food and Drug Law at         e.   "Bodily injury" or "property damage" Tor
                21 U.S.C.A. Sections 811 and 812.                        which an "insured" under this policy:
                Controlled Substances include but are not                11) Is also an insured under a nuclear
            limited to cocaine, LSD, marijuana and all                       energy Iiability policy; or
            narcotic drugs. However, this exclusion                      (2) Would be an insured under that policy
            does not apply to the Iegitimate use of                           but for the exhaustion of its limit of
            prescription drug; by a person f61lowing the                     Iiability.
            orders of a licensed physician.                              A nuclear energy Iiability policy       IS One

         Exclusions e., f., g., and h. do not apply to                   issued by:
         "bodily injury" to a "residence employee" arising               11) American Nuclear lnsurers;
         out of and in the course of the "residence                      (2) Mutual Atomic Energy Liability
          employees" employment by an "insured."                            Under-writers;
        2. Coverage E - Personal Liability, does not apply               13) Nuclear Insurance Association of
           to:
                                                                            Canada;
           a.    Liability:                                              or any of their successors; or
                 (1) For any loss assessment charged                f.   "Bodily injury" to you or an         "insured"
                     against you as a member of an                       within the meaning of part a.        or b. of
                     association, corporation or community               "insured" as defined.
                     of property owners;
                                                                 3. Coverage F - Medical Payments to Others,
                 (2) Under any contract or agreement.
                                                                     does not apply to "bodily injury":
                     However, this exclusion does not apply
                     to written contracts:
                                                                     a. To a "residence employee" if the "bodily
                                                                         injury" :
                     (a) That directly relate to the
                                                                         11) Occurs off the "insured location"; and
                        ownership, maintenance or use of
                                                                         12) Does not arise out of or in the course
                         an "insured Iocation"; or
                     (b) Where the Iiability of others is
                                                                            of the "residence employee's"
                         assumed by the "insured" prior to                  employment by an "insured";
                        an "occurrence";                            b. To any person eligible to receive benefits:
                     unless excluded in m above           or
                                                                        11) Voluntarily provided; or
                  elsewhere in this policy;                             12) Required to be provided;
           b. "Property damage" to property owned by                    under any:
                 the "insured";                                         1l) Workers' compensation law;
           C.  "Property damage" to property rented to,                 02) Non-occupational disability Iaw; or
               occupied or used by or in the care of the                13) Occupational disease Iaw;
               "insured." This exclusion does not apply             C.  From any:
               to "property damage" caused by fire,                      (1) Nuclear reaction;
               smoke or explosion;                                       (2) Nuclear radiation; or
           d. "Bodily injury" to any person eligible to                  13) Radioactive contamination;
               receive any benefits:                                     all whether controlled or uncontrolled       or
               11) Voluntarily provided; or                              however caused; or
               02) Required to be provided;                             (4) Any consequence of any of these; or
               by the "insured" under any:                          d. To any person, other than a "residence
               (1) Workers' compensation law;                           employee" of an "insured," regularly
               (2) Non-occupational disability Iaw; or                  residing on any part of the "insured
               (3) Occupational disease law;                             Iocation. "

    r                                        SECTION 11 - ADD?TIONAL COVERAGES                                         l
    We cover the following in addition to the Iimits of             C.   Reasonable expenses incurred by an
    Iiability:                                                           "insured" at our request, including actual
                                                                         loss of earnings lbut not loss of other
    1. Claim Expenses. We pay:
                                                                         income) up to :'50 per day, for assisting us
           a.    Expenses we incur and costs taxed against               in the investigation or defense of a claim or
                 an "insured" in any suit we defend;                     suit; and
           b. Premiums on bonds required in a suit we               d. Interest on the entire judgment which
                 defend, but not for bond amounts more                  accrues after entry of the judgment and
                 than the limit of Iiability for Coverage E.            before we pay or tender, or deposit in
                 We need not apply for or furnish any bond;             court that part of the judgment which does
                                                                        not exceed the Iimit of liability that applies.

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2.     First Aid Expenses. We will pay expenses for                a.  "Bodily injury" or "property damage" not
       first aid to others incurred by an "insured" for                excluded under Section 11 of this policy; or
       "bodily injury" covered under this policy. We               b. Liability for an act of a director, officer or
       will not pay for first aid to you or any other                  trustee in the capacity as a director, officer
       "insured."                                                         or trustee, provided:
3.     Damage to Property of Others. We will pay, at                      01) The director, officer or truste.e is elected
       replacement cost, upa to e500 per "occurrenc6"                         by the members of a corporation or
       for "property damage" to property of others                            association of property owners; and
       caused by an "insured."                                            12) The director, officer or trustee serves
       We will not pay for "property damage":                                   without deriving any income from the
       a. To the extent of any amount recoverable                               exercise of duties which are solely on
           under Section I of this policy;                                      behalf of a corporation or association of
       b. Caused intentionally by an "insured" who                              property owners.
           is 13 years of age or older;                           This coverage applies only to Ioss assessments
       C.  To property owned by an "insured";                     charged against you as owner or tenant of the
       d.  To property owned by or rented to a tenant
                                                                  "residence premises."
           of an "insured" or a resident in your
           household; or                                          We do not cover Ioss assessments charged
       e. Arising out of:                                         against you or a corporation or association of
       (1) A "business" engaged in by an "insured":               property owners by any governmental body.
       (2) Any act or omission in connection with a               Regardless of the number of assessments, the
           premises owned, rented or controlled by an             limit of !>1000 is the most we will pay for loss
           "insured," other than the "insured                     arising out of:
           location"; or                                          a.     One accident, including continuous or
       (3) The ownership, maintenance, or use of                         repeated exposure to substantially the same
           aitcraft, watercraft or motor vehicles or all                 general harmful condition; or
           other motorized land conveyances.                      b.     A covered act of a director, officer or trustee.
           This exclusion does not apply to a                            An act involving more than one director,
           motorized Iand conveyance designed for                        officer or trustee is considered to be a single
           recreational use off public roads, riot                       act.
           subject to motor vehicle registration and              The following do not apply to this coverage:
           not owned by an "insured."                             1. Section 11 - Coverage E - Personal Liability
4- Loss Assessmenl. We will pay up to el000                              Exclusion 2.a.( 1 );
    for your st'iare of Ioss assessment charged
    during the policy period against you by a                     2.     Condition 1 . Policy Period, under SECTIONS I
                                                                         AND II - COND?TIONS.
    corporation or association of property owners,
       when the assessment is made as a result of:
l                                             SECTION 11 - CONDIT?ONS                                                     l
    1. Limit of Liability. Our total liability under                   condition will not increase our limit of liability
       Coverage E for all damages resulting from any                   for any one "occurrence."
       one "occurrence" will not be more than the            3.        Duties ATler Loss. In case of an accident or
       Iimit of liability for Coverage E as shown in the               "occurrence," the "insured" will perform the
       Declarations. This Iirnit is the same regardless                following duties that apply. You will help us
       of the number of "insureds," claims made or                     by seeing that these duties are performed:
       persons injured. All "bodily injury" and                        a. Give written notice to us or our agent as
       "property damage" resulting from any one                             soon as is practical, which sets forth:
       accident or from continuous or repeated                              01)The identity of the policy and
       exposure to substantially the same general                                "insured " ;
       harmful conditions shall be considered to be
       the result of one "occurrence."                                     (2) Reasonably available information on the
                                                                               time, place and circumstances of the
       Our total Iiability under Coverage F lor all                              accident or "occurrence"; and
       medical expense payable for "bodily injury" to                      (3) Names and addresses of any claimants
       one person as the result of one accident                                  and witnesses;
       will not be more than the limit of Iiability for
       Coverage F as shown in the Declarations.                         b. Promptly forward to us every notice,
                                                                           demand, summons or other process
    2. Severability of Insurance.       This insurance
                                                                           relating to the accident or "occurrence";
       applies separately to each     "insured." This


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        C.   At our request, help us:                             b. Authorize us to obtain copies of medical
             (1 ) To make settlement;                                 reports and records.
             (2) To enforce any right of contribution or         The injured person will submit to a physical
                  indemnity against any person or                 exam by a doctor of our choice when and as
                 organization who may be liable to an             often as we reasonably require.
               , "insured";                                   6. Payment of Claim : Coverage F - Medical
             (3) With the conduct of suits and attend             Payments to Others. Payment under this
                 hearings and trials; and                        coverage is not an admission of liability by an
                                                                  "insured" or us.
             (4) To secure and give evidence and obtain
                the attendance of witnesses;                  6. Suit Against Us. No action can be brought
        d. Under the coverage - Damage to Property                against us unless there has been compliance
            of Others - submit to us within 60 days               with the policy provisions.
             after the loss, a sworn statement of loss            No one will have the right to join us as a party
             and show the damaged property, if in the            to any action against an "insured." Also, no
             "insured's" control;                                 action with respect to Coverage E can be
        e.   The "insured" will not, except at the                brought against us until the obligation of the
             "insured's" own cost, voluntarily make               "insured" has been determined by final
             payment, assume obligation or incur                 judgment or agreement signed by us.
             expense other than for first aid to others at    7. Bankruptcy of an Insured. Bankruptcy or
             the time of the "bodily injury."                     insolvency of an "insured" will not relieve us of
    4. Duties of an Injured Person - Coverage F                   our obligations under this policy.
        Medical Payments to Others.                           8. Other Insurance - Coverage E - Personal
        The injured person or someone acting for the             Liability. This insurance is excess over other
        injured person will:                                     valid and collectible insurance except insurance
        a. Give us written proof of claim, under oath
                                                                 written specifically to cover as excess over the
                                                                 limits of liability that apply in this policy.
             if required, as soon as is practical; and
    r                                     SECTIONS l AND II - CONDIT?ONS                                              ]
    1. Policy Period. This policy applies only to Ioss        s, Cancellation.
        in Section I or "bodily injury" or "property             a. You may cancel this policy at any time by
        damage" in Section 11, which occurs during the               returning it to us or by Ietting us know in
        policy period.                                               writing of the date cancellation is to take
    2. Concealment or Fraud. The entire policy will                  effect.
        be void if, whether before or after a Ioss, an           b. We may cancel this policy only for the
        "insured" has:                                              reasons stated below by Ietting you know
        a. Intentionally concealed or misrepresented                in writing of the date cancellation takes
           any material fact or circumstance;                       effect. This cancellation notice may be
        b. Engaged in fraudulent conduct; or                        delivered to you, or mailed to you at your
        c. Made false statements;                                   mailing address shown in the Declarations.
         relating to this insurance.                                Proof of mailing will be sufficient proof of
                                                                     notice.
    3. Liberalization Clause. If we make a change
                                                                     11) When you have not paid the premium,
        which broadens coverage under this edition
                                                                         we may cancel at any time by letting
        of our policy without additional premium
                                                                         you know at least 10 days before the
        charge, that change will automatically apply                     date cancellation takes effect.
        to your insurance as of the date we implement
                                                                     (2) When this policy has been in effect for
        the change in your state, provided that this
                                                                         Iess than 60 days and is not a renewal
        implementation date falls within 60 days prior
                                                                         with us, we may cancel for any reason
        to or during the policy period stated in the
        Declarations.                                                    by Ietting you know at least 10 days
                                                                         before the date cancellation takes
        This Liberalization Clause does not apply to
                                                                         effect.
        changes implemented through introduction of a
                                                                     (3) When this policy has been in effect for
        subsequent edition of our policy.
                                                                         60 days or more, or at any time if it is
    4. Waiver or Change of Policy Provisions.
                                                                         a renewal with us, we may cancel:
        A waiver or change of a provision of this policy                 (a) If there has been a material
        must be in writing by us to be valid. Our
                                                                             misrepresentation of fact which if
        request for an appraisal or examination will not                       known to us would have caused us
        waive any of our rights.                                               not to issue the policy; or

                                                                                                             Page 15 of 16
l                                                                                       l                                    l
                                                                                                           INSURANCE




               (b) If the risk has changed substantially            8. Subrogation. An "insured" may waive in
                    since the policy was issued.                       writing before a Ioss all rights of recovery
               This can be done by Ietting you know                    against any person. If not waived, we may
               at Ieast 30 days before the date                        require an assignment of rights of recovery for
               cancellation takes effect.
                                                                       a Ioss to the extent that payment is made by
                                                                        us.
           (4) When this policy is wri(ten for a period                 If an assignment is saought, ein "insured" mus:t
               of more than one year, we may cancel                     sign and deliver all related papers and
               for any reason at anniversary by letting                 cooperate with us.
               you know at least 30 days before the                     Subrogation does not apply under Section 11 to
               date cancellation takes effect.
                                                                        Medical Payments to Others or Damage to
    C.     When this policy is cancelled, the premium                   Property of Others.
           for the period from the date of cancellation             9. Death. If any person named in the
           to the expiration date will be refunded pro                 Declarations or the spouse, if a resident of the
           rata.                                                        same household, dies:
    d. If the return premium is not refunded with                       a. We insure the legal representative of the
           the notice of cancellation or when this                         deceased but only with respect to the
           policy is returned to us, we will refund it                     premises and property of the deceased
           within a reasonable time after the date                         covered under the policy at the time of
           cancellation takes effect.                                        death:
6. Nonrenewal. We may elect not to rerievv this                         b. "lnsured" includes:
    policy. We may do so by delivering to you, or                             (1) Any member of your household who is
    mailing to you at your mailing address shown                                  an "insured" at the time of your death,
    in the Declarations, written notice at least 30                               but only while a resident of the
    days before the expiration date of this policy.                               "residence premises": and
    Proof of mailing will be sufficient prool of                              (2) With respect to your property, the
    notice .                                                                      person having proper temporary
7. Assignment. Assignment of this policy will not                                 custody of the property until
    be valid unless we give our written conserit.                                 appointment and qualification of a legal
                                                                                 representative.

[                                            #MUTUAL POLICY CONDITIONS                                                          l
You are a member of the Liberty Mutual Fire Insurance Company while this policy is in lorce. Membership
entitles you to vote in person or by proxy at meetings of the company. The Annual Meeting is in Boston,
Massachusetls, on the second Wednesday in April each year at 11 o'clock in the morning.
Also, as a member, you will receive any dividends declared on this policy by the Directors.
This policy is classified in Dividend Class 11.
This policy has been signed by our President and Secretary at Boston, Massachusetts, and countersigned on
the Declarations Page by an authorized representative.


"These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as the
insurer.




                   %*, e %,
                     SECRETARY
                                                                               1.,ih,,,
                                                                                   PRESIDENT




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                                       Copyright, Insurance Services Office, Inc., 1990                                Page 16 of 16
                                                                                                l                                      r
                   PERSONAL PROPERTY REPLACEMENT COST ENDORSEMENT
                               FLORIDAFORM HO 00 03 and HO 00 06 oNLY

             THIS ENDORSEMENT CHANGES TO YOUR POLICY - PLEASE READ ff CAREFULLY




SECTION l


For mdded premium, subsection a. of Condition a3 Loss Settlement is repla6ed as follows:

a. At replacement cost witbout deduction for depreciation:

     (1 ) Personal Property;

    (2) Carpetiiig and liouseliold appliances whether or not attached to buildings;

    (3) Awnings, outdoor antennas and outdoor equipment, whether or not attached to buildings

b. At actual cash value at the time of loss:


    (1 ) Stmctures ti'iat are not buildings

Tlie Replacement Cost of axiy item of Personal Property is limited to the amount it would cost to replace it with a
similar item of Personal Property of like kind and quality.

THIS ENDORSEMENT SHALL NOT APPLY TO:


1. Fine Arts and like items which, by their inherent nature, can't be replaced with new items.

2. Articles whose age or jiistory contribute to their iialue including, but not limited to, Souvenirs and Collector's
   Items.


3. Property that is obsolete or unusable for the purpose for wliicli it was originally intended due to age or historic
   condition.


THIS COMPARY'S LIMIT OF L?ABIL?TY FOR LOSS UNDER THIS ENDORSEMENT SHALL NOT
EXCEED THE SMALLEST OF THE FOLLOWING AMOUNTS:

l . Replacement Cost at the time of the loss;

2. Tlie full cost of repair;

3. Any special limit of liability described in the policy; or

4. aJl'ie Coverage C limit of liability stated in tbe declarations.

Wlien insured for replacement cost, we will make payment wl'ietlier or not actual repair or replacement is
complete.

All other provisions of this policy apply



FMHO 2993 (05/15)                                                                                                PF
                                                                                             HOMEOWNERS
                                                                                              HO 04 53 04 91

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             CREDIT CARD, FUND TRANSFER CARD, FORGERY AND
                             COUNTERFEIT MONEY COVERAGE
                                                 lacreased Limit


For an additional premiun'i, the limit of liability for Additional Coverage 6., Credit Card, Fund Transfer Card,
Forgery and Counterfeit Money, is increased to $ .                 *.


*Entries may be left blank if shown elsewhere in this policy for this coverage.
All other provisions of this policy apply.


HO 04 53 04 91                   Copyriglit, msurance Services Office, Inc., 1990                   Page 1 of l
                                                                                            %t::2  INSiURANCE




             PREMISES ALARM OR
             FIRE PROTECTION SYSTEM                                                                HO 0416 04 91


             For a premium credit, we acknowledge the installation of an alarm system or automatic sprinkler system
             approved by us on the "residence premises." You agree to maintain this system in working order and
             to let us know promptly of any change made to the system or= if it is removed.


    HO 04 16 04 91                      Copyright, Insurance Services Office, Inc., 1990                        Page 1 of 1




l                                                                                                                             l
                                                                                           l
                                                                                                 FMHO 1068
                                                                                               HO MEO WNER S
                                                                                               (HO 04 77 06 94)
POLICY NUMBER:

            THIS ENDORSEMENT CHA?NGES THE POLICY. PLEASE READ IT CAREFULLY.

         ORDINANCE OR LAW - INCREASED AMOUNT OF COVERAGE
                                                   FLORIDA


For tl'ie premium charged, tbe percentage applied to the Coverage A limit of liability under Additional Coverage
11. Ordnance or Lawi, is increased from 25% to the percentage sl'iown below.
New Total Percentage           oA*
* Entry may be left blank if shown elsewhere in the policy for this coverage.
AJI cther provisicris cf this pclicy apply.


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                                                                                                       FMHO 1067 10 16
                                                                                                       (HOMEOWNERS)

                   THIS ENDORSEMENT CHANGES THB POLICY. PLEASE RE,'J) IT CAREFULLY


                                           SPECIAL PROl71SuONS - FLORIDA




    SECT{ON l - PROPEIT'Y COVERAGES                                   described in this iten'i 10.

    In fonn HO 00 03 and HO 00 06 under Coverage                  11, $1000 for loss to electronic appara tus, while
    A - Dwelling and Coverage B - Other Struchires                    not in or upon a motor vieliicle or other
                                                                      motorized land conveyance, if the electronic
    The followiiig is added:                                          apparatus :
    Special Limits of Liability                                       a.   Is equipped to be operated by power from
    Cosmetic and Aesthetie Damage to Floors
                                                                           the -electrical system of t}'ie vehicle or
                                                                           conveyance while retaining its capability of
    Tlie total limit of liability for Coverages A and                      being operated by other sources of power;
    B combined is $10,000- per policy- term for
    cosmetic and aesthetic damage to floors.                          b. Isawayfromtlie"residencepremises";and

    1. Cosmetic or aesthetic damage includes, but is
                                                                      C.   Is used at any time or in any maru'ier for
        riot lin'iited to: chips, scratches, dents or any                  any "business" purpose.
        other damage to ress than 5% of the total                     Electronic apparatus includes:
       floor surface area and does not prevent typical
       use of the floor.                                              a.   Accessories and antennas; or

2. Tliis limit includes the cost of tearing out                       b.   Tapes, wires, records, discs or other media;
   and replacing any part of the building
       necessa'iy to repair the da-maged flooring.                    for use with any electronic apparatus
                                                                                     any
                                                                      described in this i term 11
3. This limit does riot increase tl'ie Coverage A
    or Coverage B limits of liability shown on the                Property Not Covered
    Declarations page.                                            Item 3.b. is deleted and replaced by the following:
4. This limit does riot apply to cosmetic or                     3. Motor vehicles or all other motorized land
       aesthetic floor damage-caused by a Peril                      conveyances. Tliis includes:
       Insured Agairist as named and described for
       Coverage C - Personal Property,                                b. Electronic apparatus that is designed to be
                                                                          operated solely by use of the power from
COVERAGE C - Personal Property                                            the electrical systenn of "n"iotor veliicles" or
Special Limits of Ltability                                               all other motorized land conveyances.

Itenis 10. and 11. are deleted and replaced by the                    Electronic apparatus includes:
following:                                                                 (1) Accessories and antennas; or
to. $iooo for loss to electronic          apparaims, while
                                       other motorized
                                                                           (2) Tapes, wires, records, discs or
       in or upon a motor vehicle or other                                     other media;
       land conveyance, if the electronic apparatus is
       equipped to be operated by power -from the                          For use with any electronic apparatus
       electrical system of the vehicle or conveyance                      described in this item-3.b.
       while retaffiing its capability of being operated
       by other sources of -power-. Electronic apparatus             Tlie exclusion of property described in 3.a. and
       includes:                                                     3,b. above applies-on-ly
                                                                                 appli         while the property is in
                                                                     or upon the vehicle
                                                                                 vehii   or conveyance.
       a. Accessories and antennas; or
       a.
                                                                     We do cover vehicles or conveyances xiot
       b. Tapes, wires, records, discs or other media;               subject to motor vehicle registration wfiich are:
       foruse with airy electronic apparatus                         a.    Used to service air "insured's" residence;
                                                                           or


1                                           Includes Copyriglited Material with                          FMHO 1067 10 16
                                       Peiinission of Insurance Services Office, Inc.
     b. Designed for assisting the                                 to the cost incurred by you for tl'ie reasonable
         handicapped;                                              emergency measures necessai)i to protect the
                                                                   covered property from further damage.
COVERAGED - Loss of Use
                                                                c. If however, a covered loss occurs during a
Item 1. in forms HO 00 02 and HO 00 03 is                          "Hurricane", the amori?nt we          pay rmder this
deleted and replaced by the following:                             additional cove,'age is not limited
                                                                                               fimited to
                                                                                                       to the
                                                                                                          the
1. If a Ioss covered under this Section makes that                 amount in a. above.
     part of the "residence premises" where you reside          "Hurrieane" described.
     riot fit to Iive in, we coyer the Additional Living         a (1) A hurricane means a storm system that li:as
     Expense, meaning any necessary iiicrease in
     living expenses incurred
     ltvtng                tncurred by
                                    tty you so that your
                                                                       been declared to be a hurricane by the
                                                                       National Hurricane Center of tbe National
     household can maintain its nonnal standard of
                                                                       Weather Service.
     living.
     Payinent will be for the shortest time required               (2) A hurricane occurrence:
     to repair or replace the dannage or, if you                       (a) Begins at lhe time a hurricane watch or
     pennanently   relocatie, tlxe shortest time                           warning is issued for any part of
     required for your household to settle elsewhere.                      Florida by
                                                                                    l'7the
                                                                                        tIleNational
                                                                                            NatlonalHurricane
                                                                                                     Hllfflcane
                                                                            Center oif the National Weather
[terri !. irx fchn HO 00 04 and HO 00 06 is deleted
                                                                            Service; and
and replaced by the following:
                                                                       (b) Ends 72 hours following the
1, If a loss by a Peril Insured Against under this                          termination of the last hurricane watch
   pol'icy to covered property or the building                              or hurricane warning issued for any
   contalnlng    tl'iepr0peJ
       ttaining tIle   property makes the "residence                       part
                                                                           part  of Florida by the National
     premises" riot fit to live in, we cover the                           Hurriicane Center       o-f the National
     Additional Living Expense, meaning ariy                               Weatl'ier Service.
     necessary increase in living expenses incurred by
     you so-that your household-can maintain its                d. A reasonable measure under Uhis Additional
     normal standard of living.                                    Coverage 2. may include a perxnanent repair
                                                                   wl'ien necessary
                                                                   wl'ien necessary-totoprotect
                                                                                         protect              tl'ie covered
     Payinent tvill be for the shortest time required              property from further damage or to prevent
     to repa# or replace the damage or, i'f you                    unwanted entry to the property. To the-degree
            nently relocate,
     perrnane         relocati    the shortest time                reasonably possible, the damazed property
     required for your household to settle elsewhere.              must be retained for us to inspect.
SECTION l- ADDIT?ONAL COVERAGES                                 e. This coverage does not:
    Item ?2. in forms HO 00 02, HO 00 03 and HO                    (l) Increase the limit of liability that applies to
 00 06 is deleted and replaced by the following:                       the covered property.
2, Reasonable Emergency Measures.                                  (2) Relieve you of your duties, in case of a loss
   a. We will pay up to the greater of $3,000 or 1%                    to covered property, as set forth in
      of your Coverage A limit of liability for the                    SECTIONI - CONDITION 2. ;         al



      reasonable costs incurred by you for                         (3) Pay for property not covered, or for repairs
      necessary measures taken solely to protect                       resulting trom
                                                                       resultmg  from aa pertl
                                                                                         peril nc
                                                                                               not covered, or for
      covered property from further damage, when                       loss excluded in this Policy.
      the dam:nage or loss is caused by a Peril
        Jnsured   Againse.                                      Item 7. in form HO 00 06 is deleted and replaced
                                                                by the following:
     b. We will not pay more than tbe amount in a.
        above, unless we proiiide you approval                  7. Loss Assessment. We will pay up to $2000
        within 48 hours of your request to -us to                  for your share of loss assessment charged
        exceed the limit in a. above. In such                      during the policy period against you by- a
        circumstance, we will pay only up to the                   corpoiationorassociaEion of property
                                                                                                property owners,
        additional amount for- the i?i?easures we                  when the assessment is made as-a  resuft of direct
                                                                                                : a result

        authorize.                                                 loss to the property, owned by all members
                                                             collectively, caus-ed by a Peril Insured Against
        If we fail to respond to you witl'iin 48 hours       under Coverage A - Dwelung, other than
        of your request to us and the damage or loss         earthquake or land shock waves or tremors
        is -caused -by a Peril Insured Against, you          before, during, or after a volcanic eruption. A
        may exceed the amount iii a. above only up           $250 deduct;ble
                                                                     deductib]  sball apply, unless-another
                                                             deductible was or will -be applied to other
                                                             property loss that resulted from the same
2                                      Includes Copyrighted Material with                   FMHO 1067 10 16
                                      Perinission of Insurance Services Office, Inc.
     property loss being assessed. In tbat case no                       construction, remodeling or renovation if the
     aeductible for loss assessment will be applied.                     col)apse occurs during the course of the
                                                                         construction, remodeling or renovation.
     Tliis coverage applies only to loss
     assessments charged--against you as owner                       Loss to an awning, fence, patio, pavement,
     or tenant of tbe "residence premises."                          swimming pool, unaerground pipe, flue, draiii,
                                                                     cesspool,-septic tank, foundation, retaining wall,
                                                                     cesspoo.
     We do nol cover loss assessments charged                        bulkbeaid, pier, wharf or dock is not includea under
     against you or a corporation or association of                  items b., c., d., e., and f. unless the loss is a direct
     pFoperty-owners By any-govei'nmenlal body'.                     result of the collapse of a buildinga.
     Tlie limit of $2,000 is the most we will pay                                            under this Additional
                                                                     The coverage provided under
     witl'i respect to any one loss, regardless of tbe               Coverage l eollapse,
                                                                                  :ollapse, applies
                                                                                            applies only to abrupt
     number - of assessments. Regardless of the                      collapse.
     number of assessi?nents, the limil of $2,000 is
     tlxe mosl we will pay as a result of the same                   For the p'urposes of thxs Additional Covei rage -
     direct loss to properLy. The maximum amount                     Couapse, a5rupt
                                                                                abrupt collapse means an abrupt falling
     tl'iat will be pard for an assessment for any loss              down-or  caving In
                                                                     (lown or caVlng in 01
                                                                                        of -a building or any part of a
                                                                                            a 5ull(llng
     is equal to your
                    )/01 unit owner's coverage limit in
                                                                     building with the result that the biiuilding or part of
     effect one aay
                day before the date of occurrence.                   the building cannot be occupied for its in'tended
     Any changes -to coverage limits made on or                      purpose.
     after the -day before tfie date of occurrence                   Collapse does not include settling, cracking,
     are not applicable to such loss.                                shrinking, bulging or expansion.
     Condition 1. Policy Period, under SECTIONS                      This coverage does not increase the lin'iit of
     l and II CONDITIONS, does not apply to this                     liability applying to the damaged covered
     coverage.                                                       property.
Under 8, Couapse, item b. Hidden decay in forms HO               9. Glass
                                                                    Glass or
                                                                           or Safety
                                                                              Safety Glazing Material is deleted
00 02 and H(j 00 03 is deleted and replaced by the                  and replaced by thte following:
following:
                                                                 9. Glass or Safety Glazing Material.
     b. Hidden decay, However, s.b. does not provide
          coverage for a plumbing system or any-part of              a. We cover:
          a plum'Eiing system resulting from deca-y,-unless
          th-e plumbing system or part of the plumbing                   (1) The breakage of glass or safety glazing
          system is damaged by a collapse of a-building,                     material which is part of a- coverea
          or any part of a building.                                         building, storm door or storm window;

8. Collapse in form HO 00 06 is deleted and replaced                     (2) The breakage, caused directly by Eartli
    by the following:                                                        Movement, -of glass or safety -glazing
                                                                             material whicb is part of a coverea
8. Collapse. We insure for direct physical loss to                           building, storm door or storm window; and
   covered property involving collapse-of
                               'ollapi    a building
    or any part-of a building-caused
                                ?used only by one or                     (3)The direct physical loss to covered
    more of-the following:                                                  property caused solely by the pieces,
                                                                            fragments or splinters of broken glass or
    a.   Perils Insured Against in COVERAGE C -                              safety glazing-material which is part of
         PERSONAL PROPERTY. These perils apply                               a bur-lding, storm door or storm winaow.
         to covered buildings and personal property -for
         loss insured by this additional coverage;                   b. Tliis coverage does not include loss:
    b.   Decay, of a building or any part of a building                  (1) To covered proper'cy which results
         tl'iat is hidden from view, unless the presence of                 because the glass or safety glazing
         sucl'i decay is known to an "insured" prior to                      material has been broken, 'except as
         collapse;                                                           provided in a.(3) above; or

    C.   Hidden insect or vermin damage;                                 (2)On the "residence premises" if the
                                                                            dwelling has been vacant for more
    d.   Weigl'it of contents, equipment, animals         or                than 30 consecutive days immediately
         people;                                                            before the loss, except when the
                                                                            breakage results directly from Eartli
    e.   Weigl'it of rain which collects on a roof', or                     Movement as provided for iii a.(2) above.
    f.   Use of defective material or methods in                             A dwelling -being constructea is not
3                                           Includes Copyrigbted Material with                          FMHO 1067 10 16
                                       Perinission of Insurance Services Office, Inc.
            considered vacant.                                                   remoiie, contain, treat, detoxify or
                                                                                 neutralize, or in any way respond to, or
    Loss to glass covered under this                                             assess the effects of, pollutants on any
    ADDITIONAL COVERAGE 9, will be settled                                       covered building or other stmcture.
    on tbe basis ofif replacement
                      replace     with safety glazing
    materials when required    by ordinance or )aw.                              Pollutants mean any solid, liquid,
                                                                                 gaseous         or thermal iri'tant or
    Tliis coverage does not increase tl'ie limit of                              containinant, including smoke, vapor,
    liability that applies to the damaged property.                              soot, fumes, acids, alkalis, chei'nicals and
                                                                                 t*aste. Waste includes materials to be
The ?following ADDITIONAL COVERAGE                        15

added:                                                                       recycled, reconditioned or reclaimed.
11. Ordinance or Law.                                              This coverage is additional insurance.
    a.   You may use up to the percentage shown                    (This? ?is? !'J)DITJONAL COVERAGE 10. in Fonn
         oll your- policy -Declaratioiis that applies to           HO 00 06)
         Coverage A - Dwelling
                        veIling (or,
                                 (i for Forin HO 00                SECTION I - PERILS INSURED AGAINST
         04, )iou-may use up
                           upto
                              tothe
                                 tlii percentage shown
         on the Dec2arations that applies
                                      .pplir   to Building         The following Peril is added (for Fonns HO 00
         Additions and Alterations)- rorfor the increased
                                                                   02, HO 00 03, and HO 00 06):
         costs you incur due to iiie enforcement of
         airy ordiiiaiice or law which requires or                 Catastrophic Ground Coyer Collapse
         regulates:                                                a. We insure for direct physical loss solely to tl'ie
         (1) The         constniction,          demolition,           "covered dwelling': ncluding the foiu'idation,
             remodeling, renovation or repair of that                 caused by the peril of "catastropliic ground
             part of a covered building or other                       cover collapse".
             stmcture damaged by a PERIL                               "Covered dwelling" means the stand-alone
             INSURED AGAINST;
                                                                       structure, or iuiit for HO 00 06 f?orrns, covered
         (2) The demolition and reconstniction of the                  under Coverage A, that you reside in as your
             undarnagedpart of a coveredbuilding                       residence, including an attached garage. This
             orother stmcture, when that building                      definition does not extend to any structures that
             or other structure must be totally                        are attached to the livable
                                                                                                ile square
                                                                                                    sqriare footage of this
             dexnolished because of damage by a                        stand-alone structure, inicluding, but not limited
             PERIL INSURED AGAINST to                                                          idewalks. , fences, screen
                                                                       to, patios, walkways, sidewal
             another part of that covered building or                  enclosures, pavement,
                                                                       enclosures, pavement,decks,
                                                                                               decks, porches, lanais,
             other structure; or                                       driveways, carports, poo]s, spas, gazebos, etc.,
                                                                       unless the structure is under-the same roofline
         (3) The remodeling, removal             or                    or of the same foundation line and of the same
            replacement of the portion of the                          depth as the "covered dwelling". Under no
            undamaged part of a covered building or                    circui?ustance will it extend beyond the unit for
            other stictiire necessary to complete                      HO 00 06 forms.
            the remodeling, repair or replacement
             of that part of- the covered building or                  "Catastrophic ground coverCOVer collaps? e" is

             other stmcture damaged by a PERIL                                                  results in all of the
                                                                       geological activity that results
             INSURED AGAINST.                                          following:
    b. You may use all or part of this ordinance                       1. The abrupt collapse of the ground cover;
       or law coverage to pay for the increased                        2. A depression
                                                                              depressi    in t}ie ground cover clearly
       costs you incur to remove debris resulting                          VIS            the
                                                                                 ible to tl:    naked eye;
       from - the constmction, demolition,
       remodeling, renovation,repatr  repair or                        3. "Structural damage" to the "covered
       replacement of property as sstated
                                      stated in a.                         dwelling," including the foundation; and
         above.
                                                                       4. Tlie insured stnicture being condemned and
    C Je do not cover:                                                     ordered to be vacated by tbe governmen?al
         (l)The loss in value to any covered                               agencyatautl'iorized by law to issue such an
                                                                           agenc'j
                                                                     order for tthat stmcture.
             building or otl'ier structure due to the
             requirements of any ordinance or law; or           "Stmctural damage" as defined means the
         (2) The costs to comply with any ordinance             "covered dwelling", fhat regardless of the date
             or law which requrres any "insured" or             of  its construction, has experienced the
             otl'iers to test for, monitor, clean ?ip,          following:

4                                        Includes Copyriglited Material with                   FMHO 1067 10 16
                                         Pen'nission of Insurance Services Office, Inc.
       1.   Interior floor displacement or deflection in          PERSONAL PROPERTY 17. in Form HO 00 03
            excess of acceptable variances as defined in        and SECTION l - PERILS INSURED AGAINST
            ACI 117-90 or the Florida Building Code,            17. in Forins HO 00 02 and HO 00 06)
            wliicl'i results iii settlement related damage
            to tbe interior such that the iiiterior building     1. Involving Collapse iii form HO 00 03 is deleted
            structure or members become unfit for                   and replaced by ibe following:
            service or represent a safety hazard as              1, Invo)viiig Collapse, including any of the following
            defiiied witl'iiii the Floxida Building Code;            conditions of property or any pa'rt of the property,
      =ii. Foundatioii displacement or deflection in                 wlietl'ier above or-below tlic ground:
            excess of acceptable variances as defined in            a. An abrupt falliiig down or caving iii;
            ACI 318-95 or the Florida Building Code,
            wliidi results in settlement related damage             b. Loss of stmctural integrity, including separation
            to the "primary stmctural metnbers" or                     of parts
                                                                          parts iof the property or property in danger of
            "primary
            11 p na I -stmctural systems" that prevents                fal!ing down or caving iii; or
                                                                          ling di
            thosie
                 - members -or systems- from                        c. Any spalling, crumbling, settlirig, cracking,
            supporting the loads and forces they were                  sliirting, bulging, racking, sagging, bowing,
            designed to support to the extent that                     bending, leaning-, slirinkage or expansion, or an;Y
            stresses in those "prin'iary structural                    other age or tnaintenance related-issues, as suc:h
            members" or "primary structural systems"                   condition relates to a. or b. above;
            exceeds one and onefthird of the nominal
            streneth allowed under the Florida
            strength                                            except as provided in Additional Coverages 8.
            Buildinpg Code for new buildings of similar
                                                                The final paragraph in item 2. e. in forxn HO 00 03 is
            stmcture, purpose, or Iocation;                     deleted and replaced by the following:
                                        .g,leaning,
      iii. Damage that results in listing,  lean    or
            bucklffig of the exterior load E+earing
                                            bearin: walls       If any of these cause water damage riot otherwise
            or other vertical "primary stmctural                excluaed, from a p]umbing, heating,- air conditioning
            members" to such an extent that a plumb             or automatic fire protec(ive sprinkler system or
            line passing through the center of gravity          liouseliold appliance-, we cover loss caused by the
            does-riot fall inside the middle oneS tl'iira       water ini cluding1the cost to tear out and repair only that
            of the base as defined within the Florida           part of at building
                                                                           buildin? or only that part of an otber structure
            Building Code;                                      covered under Coverage A or B, on the 'residence
                                                                premises', necessary to access tbe system or appliance.
      tv. Damage that results in the building,
                                         ding, or any
            portion of the building containingng"prin?iary
                                                 iix            We do riot cover loss to the system or appliance froi'n
            structural members" or "primary
                                     "prima stmctural           wliicli this water escaped.
            systems," being significantly
                                      ficantl'  likely to
                                                                Item 12. in form HO 00 06 is deleted and replaced by
            imminently collapse because of the
            movement- or instability of tlieround               tl'ie following:
            within the influence zone - of the supporting       12,Accidental discharge or overflow of water or
            gTl'ound within the sbeer plane niecessary             steam from witl'iin a plumbing, heating, air
            forir the purpose of supporting
                                      suppo:         such           conditioning or automatic-fire protective sprinkler
            building as-de-fined witbin
                                  thin the Florida                  system or from witltin a household appliance. We
            Building Code; or                                       ajso payy for
                                                                              for tearing
                                                                                   tearing or
                                                                                           out and replacing-only that part
      V.    Damage occurring on or after October 15,                of the building
                                                                           building wl'iidt
                                                                                    wbic'. is covered under Coverage
            2005,- that qualifies as "substantial                   A and at the location of tl'ie "residencecepremises,"
                                                                                                                premi:
            stmctural damage" as defiiied in the Florida            if necessary to repair the system or appliance
                                                                                                            apliance 1 from
            Building Code.                                          which the water or steam escaped.
      "Primaiy stmctural member" as used above                  This peril does not include loss:
      means a stmctural element designed to
                                                                        a.   On the "residence premises," if the
      provide support and stability for tbe vertical
      or lateral loads of the overall structure.                             dwelling has been vacant for more than 30
                                                                             consecutive days inxmediately before the
      "Primary structural system" as used above                              loss. A dwelling being constructed is riot
      means an assemblage of "primary stmctural
      members."

b. Contents coverage and additional living
    expenses apply only if there is a loss resulting
    from "catasiropliic ground cover collapse".
(This is PERIL INSURED AGAINST COVERAGE C
s                                         Includes Copyrighted Material with                          FMHO 1067 10 16
                                      Pennission of Insurance Services Office, Inc.
              considered vacant;                                     a.   Requiring or regulating the constniction,
                                                                          denyolition, remodeling, renovation or repair
       b.     To tl'+e system or appliance from which the                 of property, including removal of any
              water or steam escaped;                                     resul-ting debris. Tliis exclusion l.a. does
       C.     Caused by or resulting from freezmg                         riot apply to the amount of coverage that
              except as provided in the peril of freezing                 may be provided for under ADDITIONAL
              below; or                                                   COVERAGES, Glass or Safety Glazing
                                                                          Material or Ordinance or Law;
       d.     On the "residence premises'.' caused by
              accidental discharge or overflow wl'iicl'i             b. aThe requirements of which resiilt in a loss
              occurs away from the building where tl'ie                   in value to property; or
              "residence premises" is ]ocated.                       C.   Requiring any "insured" or others to tcst
In this peril, a plumbing system does not include a                       for, monitor, clean up, remove, contain,
sump, sun'ip pump or related equipment.                                   treat, detoxify or neutralize, or in any uiay
                                                                          respond to, or assess the effects of,
Item 12. in form HO 00 02 is deleted and replaced by                      pol-lutaiits.
the following:
                                                                          Pollutants mean any solid, liquid, gaseous
    12. Accidental discharge or overflow of water or                      or thermal irritant or contamnant,
       steam [rom within1aaplumbing,
                             plutnt)lng,heating,
                                         lieatlng, air
                                                   aIr                    including smoke, vapor, soot, fumes, acids,
       conditioning or        automatic fire protective                   alkalis, chemicals and waste. Waste
       sprinkler system or from within a household                        includes materials to be recycled,
       appliance. We also pay for t.eating
                                    teating out and                       reconditioned or reclaimed.
       replacing only that part of the building
                        it patt        buildin; on the
                                                                     This exclusion applies
       "residence preinises"  necessary to repair the
                         es" ni                                                     applies whether or riot the
       system] or appi liance from which the water or
                                                                    property has been physica]ly
                                                                                        physica]'. damaged.
       steam    escaped.                                         (This is exclusion l.a. in Foim HO 00 03.)
       Tliis peril does not include loss:                        2, Earth Movement is deleted and replaced by
       a.     On the "residence premises," if the dwelling           the following:
              has been vacant for more than 30                   2. Earth Movement, meaning earthquake,
              consecutive days immediately before the               including land shock vvaves or tremors
              loss. A dwelling bcing constructed is not             before, during or after a volcanic eruption'
              considered vacant;                                    landslide; mine subsidence; sinkhole;
                                                                                                        sinkhole.

       b. To the systenn or appliance from which the                mudflow; earth sinkiiig, rising or shifting;
              water or steam escaped;                                unless direct loss by:
       C.     Caused by or resulting from freezing except            a. Fire;or
              as provided in the periJ of freezing below; or         b. Explosion
       d. On the "residence preinises" causied by                    ensues and then we win pay only for the
              accidental discharge- or overflow       whicl'i
                                                                     ensuing loss.
              occurs off the "residence premises".
                                                                     Tliis exclusion does not apply to loss by theft
       In this peril, a plumbing system does not                     or "Catastropl'mc Ground Cover Collapse".
       include a sump, sump pump or related
       equipment.                                                (Tltis is exclusion l.b. in Forrn HO 00 03.)
8ECTlON I - EXCLUSIONS                                           4. Power Failure is deleted and replaced by the
                                                                     following:
1. Ordinance or Law is deleted and replaced by
    the following:                                               4. Power Failure, meaning the failure of posver
                                                                     or other utility service if the failure takes-place
                                                                                                                ces- plat
1. Ordinance or Law, meaning any ordinance                           off the "residence pren'iises". But if thee failure
                                                                                                                  failu
    or law:                                                          of power or other- utility service results in a
                                                                     loss, from a PERn. INSURED AGAINST on
                                                                     the "residence pretnises", we will pay for the
                                                                     loss or damage caused by that PERIL
                                                                     INSURED AGAINST.

                                                                 (This is exclusion l.d. in Fonn HO 00 03.)

6                                           Includes Copyriglited Material with                         FMHO 1067 10 16
                                        Permission of Insurance Services Office, Inc.
SECTIONI - COND?TIONS                                                         that are necessary to protect tl'ie covered
                                                                              property from - further damage, as
Item 2, in Forms HO 00 02, HO 00 03, and HO                                   provided under Additional Coverage 2.
0006is deleted and replaced svith the                                         Reasonable Emergency Measures; and
fol)owing:
                                                                          (2)Keep an accurate record of repair
2. Your Duties After Loss. In case of a loss to
                                                                            expenses.
    covered    property,', we have no duty to provide
    coverage-unaer   this Policy if the failure to comply
              under th                                                    A reasonable emergency measure under e.
    with the following d?ities is prejudicial
                                       prejudii   to -us.                 (l) abo= may iiiclude a pennahent repair
    Tl'iese duties must be performed    eiiber by you, an
                                      d either                            when iiecessai'y
                                                                                     ai'y totoprotect
                                                                                               protect the coiiered
    "insured" seeking coverage, or a representative of                    property frosrii further
                                                                                           further damagi
                                                                                                   damage or to prevent
    either:                                                               iinwanted entry to the property. To the
                                                                          degree reasonably possi61e, the
     a.   Give prompt notice to us or your insurance                      damaged property must be- retained for us
          agent.                                                          to inspect.
          Except for Reasonable Emergency                                                      of dama
                                                                       f. Prepare an inventory of damaged personal
          Measures taken under Additional
                                                                          property showing the quantity, , description,
          Coverages 2, there is no coverage                               acti;al cash value and amount of loss. Attacli
          for repairs
          for  repairs that begin before the                             all bills, receipts and related documents that
          earlier of:
                                                                         justify the figures in the inventory;
          (1 ) 72 hours after we are notified of tbe loss;             g. As often as we reasonably require:
          (2) The time of loss inspection by us; or                       (l) Show the damaged property;
          (3) At the time of other approval by us;
                                                                          (2) Provide us witl'i records and documents
    Any claims, including but ttot limited to, initial,                       we request and permit us to make
    supplemental, and reopened claims, under an                               copies; and
    insurance policy tliat- provides covcrage for
    windstorm-or -liurricane damage, are barred                           (3) You and your representative, including
    unless notice of the claiii'i was gxven to us in                          any public adjuster engaged or acting on
    accordance with the terms of the policy within 3                          your- behalf, must submit to recorded
    years after the hurricane first made landfall or tl'ie                    statements and examinations under oath
    windstorm caused the coverage  iverage damage, or                         as often as we reasonably require, within
    within s years from the dar.te of lo:ss for losses                        60 days of tl'ie date of o'ur request to do
    other than -hurricanes, windstorms or sinklioles.                         so. Your statements and examinations
                                                                              under oath will be conducted while not in
    For purposes of this section, the terms                                   the presence of any other "insured" or
    "suppl-emental claim" or "reopened claim" means                           representative of an "insured", including
    any -additional claim for recovery from us for                            a-public adjuster. Tlie statements ana
    losses from the same loss wliicli we had                                  examinations under oath of            your
    previously adjusted pursuant to the initial daim.                         repres? entative,   including a public
     b. (]) to tl'ie degree reasonably possible, retain                       adjush:er, will be conducted while not in
              lhe damaged property; and                                       the presence of any "insured". All
                                                                              recoraed statements and examinations
          (2) allow us to inspect, subject to b. m                            under oath must be signed by the person
              above, al] damaged property prior to its                        provid ing the statement or the person
              removal from the "residence premises";                          being examined. The person providing
                                                                              the statement or being-
                                                                                                   lng examined
                                                                                                       i         must
     C.   Notify the police in case of Ioss by theft;                         also provide us witl'i
                                                                                                   witb records and

     d. Notify the credit card or fund transfer card                          documen(s that we request and permit us
        company in case of loss under Credit Card                             to make copies.
        or Fuiid-Transfer Card coverage;                                 (4) The attorney representiiig tlxe "insured"
     e.   Protect the covered property from further                          may always be present under the
          damage. Tlie following must be perfori'ned:                        circumstances descri):;ed in this condition.

          (1)Take reasonable emergency measures



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                                       Perinission of Insurance Services Office, Inc.
    h. Send to us, within 60 days after our request,                         coverage for windstorm or hurricane
        your signed, sworn proof of loss wliicli sets                        damage, are bari-ed unless notice of the
        f'orth, to the best of your knowledge and                            claim was given to us in accordance with
         belief:                                                             tbe terms of the policy
                                                                                               poli    within 3 years
                                                                             after the hurricane first
                                                                                                 ffrst made landfall or the
         (1) Tlietimeandcauseofloss;                                         windstorm caused the covered damage, or
                                                                             within s years from the date of loss for
         (2) Tlie interest of the "insured" and all                          Iosses other than hurricanes, windston'ns
             others in the, property involved and all                         or sinkholes.
             hens on the property; -
                                                                              For purposes of this section, the terms
         (3) Otlier insurance wliicli may cover the                           "supplemental claim" or "reopened claim"
              loss;                                                           means any additioxial claim -for recovery
                                                                              from us for losses from the same loss which
         (4) Clianges in title or occupancy of the                            we had previously
                                                                                         preVll   adjusted pursuarit to the
             property during the ten'n of The policy;                         initial c]laim.

         (5) Specilficatioiis of damaged buildings and                  Items f. (4) and (5) are added:
              detailied   repair estimates;
         (6) Tlie inventory of damaged personal                            (4) You ana your representative, iricluding
             property described in 2.f. above;                                 any public-adjuster engaged or acting on
                                                                               your beha)f, must submit to recorded
                                                                               statements and examinations under oath
         (7) Receipts for additional living expenses
              incurred and records that support the fair                       as often as we reasonably require, within
              rental value loss; and                                           60 days of the date of our request to do
                                                                               so. Your statements and examinations
         (8) Evidence or affidavit that supports
                                         suppi   a                             under oath will be coriducted while not in
              claim under the Credit Car'd-,
                                        Card, Fund                             the presence of any other "insured" or
              Transfer Card, Forgery and Counterfeit                           representative of an "insured", including
              Money coverage, -sta-ting the amount                             a-public adjuster. The statements ana
              and cause of loss.                                               examinations under oath of your
                                                                               representative, including a public
    1.   Your representative, including any public                             adjuster, will be conducted wl'iile not in
         adjuster engaged or acting on your 6ehalf,                            the presence of any "insured". All
         may not act or fail to reasonably act in any                          recoraed statements and examinations
         manner that obstructs or prevents us or our                           under oath must be signed by the person
         adjuster from conducting- an inspection of                            providiing the statement or-tkie person
         any part of the insured-property-for
                                      property     wliicli                     being     examined. The person providing
         there is a claim for loss or-damage
                                     ' damage in a timely                      the statement or being- examined must
         manner.                                                               also provide us with records and
                                                                               documents that we reqriest and pennit us
    The duties above apply regardless of whether you,                           to make copies.
    an "insured" seekMg covera(4e, or a representative
    of either retains or is assisted by a-party who                        (5) Tlie attorney representing the "insured"
    provides legal advice, insurance aavice or        expert                    may  always be present under the
    claim advice, regarding an insurance claim        under                     circumstances   described in this
                                                                                     stances described
    this Policy.                                                                condition.

Item 2.a. in Fortn HO 00 04 is deleted and                               Item li. is added:
rcplaced with the following:
                                                                        h. Your representative, including anypublic
     2. a. You,
           You,or oryour
                     yi representative, including any                      adjuster engaged or acting on-your 6ehalf,
           publicc adjr
                   aajuster engaged or acting on-your                      may not acE or fail to reasonably act in any
                    must
            behalf, mr       give prompt notice to us or                   manner that obstructs or preven'ts us or our
            our agent.                                                     adjuster from conducting an inspection of
            Any claims, including, but not limited to,
            initial, supplemental, and reopened claims,
            under an insurance policy 'tliat provides


8                                             Includes Copyrigl'ited Material with                        FMHO 1067 10 16
                                         Permission of Insurance Services Office, Inc.
            any hart of the insured property for wliicli             6, Appraisal isdeleted and replaced by
            there is a claim for loss or damage iii a                   the-following:
            timely mamier.
                                                                    6. Mediation. If you and we are engaged
3. Loss Settlement.                                                      in a dispute regaraing a claim, either t'nay:
                                                                         a.   Demand a mediation of the loss in
    Under Forms HO 00 02 and HO 00 03, item b.
    (4)
    (4) and (5) are deleted arid replaced with the                            accordance witl'i the roles established by the
    following:
    foIl                                                                      Florida Department of Financial Services.
                                                                              Tlie loss a;'nount must be $500 or more,
            b.(4) We will iiiitially pay at least the                         prior to application of the deductible; or
            aci'al cash value of the ffisured loss, less                      there musr-be a difference of $500 or
            any applicable deductible. We slyall pay                          i'i'iore between the loss settlement amount
            any remaining amounts ttecessary to                               we offer and the loss settlement amount
            perform such repairs as vvork is perfonned                        that you request. Tlye sett]ement in tl'ie
            and expenses are incui'red. We-will not                           course of the mediation is binding only if
            require-you to advance payment for such                           both parties agree, in writing, on a
            repairs or expenses, with trie exception of                       settlement and, you have not rescinded the
            incidental expenses to mitigate furt]ier                          settlement withFn 3 business days after
            damage,  subject to the provisions of Section
            damage, subject                                                   reaching settlement. You may not rescind
            I- Conditions.,         Your Duties After Loss,                   the settlement after casbing or depositing
            item 2.e.                                                         the settlement check or draft we provided to
                                                                              70u.
            If a total loss of tl'ie covered dwelling
            occurs, we shall pay the replacement cost                         We will pay the cost of conducting any
            coverage without reservation -or lioldback of                     mediation - conference except when you
            any depreciation
                 eprecii      in value, subject to the                        fail to appear at a conference. jhat
            policy   Iimits                                                   conference -ivill then be rescheduled upon
                                                                              yorir payx'iient of the mediator's fee for that
            Under Forin HO 00 06, items b. (1 ) and (2)                       resclieduled conference. However, if we
            are deleted and replaced by the folrouiing:                       fail to appear at a n'iediation conference,
                                                                              we will pay your actual cash expenses you
       b.    Coverage A - Dwelling                                            incur in -attending the conference and also
                                                                              pay the mediator's fee for the rescheduled
             (1 ) At the actual cost to repair or replace;                    conference.
             (2) We will initially pay at least tl'ie actual                  Mediation will not apply lo any claim in
                 cash value of the insured loss, less any                     wliicl'+ we have a reasonable basis to
                 applicable deductible. We shall pay any                      suspect fraud; or where based 011 agreed-
                 remaining amounts necessary to                               upon facts as to tbe cause of the loss,
                 perfonn such repairs as work is                              there is no coverage under this policy.
                 performed and expenses are incurred.
                 'We will not require you to advance                7. Other Insurance In form HO 00 06 iS
                 payment for such repairs or expenses,                  deleted and replaced by the following:
                 with the exceotio'n
                               :xceptit    of incidental
                 expensles to initiga'.te further damage,           7. Other Insurance. If a loss covered by this
                 subject to the provisions of Section I -               policy is also covered by? other ins'urance
                 Conditions, Your Duties After Loss,                    covering the same property, this insurance will
                 item 2. e.                                             be excess over the amount recoverable under
                                                                        sucl'i other insurance. Hosvever, if a loss
                 If a total Ioss of the covered dwelling                covered by this policy is covered by other
                 occurs,       we shall pay
                                         pay the                        insurance covering the same property and sucl'i
                 Replacement cost coverage-witl'iout                    other insurance is excess insurance over the
                 res-ervation or lioldback of any                       amount recoverable under any other policy
                 depreciation
                  .epreCli    in value, subject to the                  covering the same property, we will pay only
                 P'?olicyl imits.                                       the proportion
                                                                             pro)        of the loss that the -limit of
                                                                        liabirity-
                                                                             lity that applies under this policy bears
                                                                        to the total-amount of sucr'i insurance
                                                                        covering the loss.




9                                             Includes Copyrighted Material with                          FMHO 1067 10 16
                                          Perrnission of Insurance Services Office, Inc.
8.   Suit Agatnst Us is deleted and replaced by                            (Tliis is exclusion l.m. in HO 24 73.)
     the following:
                                                                 SECTIONSI AND II - CONDITIONS
8.   Suit Against Us. No action can be brought
     unless -t)'ie policy provisions have been                   2. Concealment or Fraud is deleted and replaced
     complied with and-the-action is started within                  by t)ie following:
     s years after the date of loss.                             2. Concealment or Fraud.
9.   Our Option does not apply to personal                           a.    Under SECTION l - PROPERTY
     .property.                                                            COVERAGES, with   respecttoto all
                                                                                       (11 respect
10. Loss Payment is deleted and replaced by the                            "insureds" covered under this
                                                                                                    tFiispolicy,
                                                                                                         policy, we
     following:                                                            may not provide coverage for -loss under
                                                                            SEeTrON I - PROPERTY COVERAGES
10. Loss Payrnent, We will ad.just all losses with                         if, whether before or after a loss, one or more
                                                                           "insureds" have:

                                                                           (1) Intentionally
                                                                                   ntionallyconcealed or misrepresented
     payable upon the earliest of':                                             any material    fact or circumstance;

     a.   20 days BOer qr6 y6(.eive your
                                       -prtproof oF loss                   (2) Engaged in fraudulent conduct; or
          and reach written agreement with
                                       ith oyou; or
                                                                           (3) Made material false statements;
     b 60 days after we receive your proof of                              relating to this insurance.
          loss and:
                                                                      b. Under Section 11                         LIABILITY
          (1 ) Tliere is an entry of a final judgment; or                  COVERAGES, we may not                        provide
          (2)There is a filing of a mediation                               coverage to one or more "insureds':" who,
              settlement with us.                                          wlietlier before or after a loss, have:

     C.   Witliin 90 days after we receive notice of                        (1) Intentionally            concealed           or

          an    initial, reopened or supplemental                               misrepresented any material fact             or

          property insurance claim from you,-we shall                           circumstance;
          iyay or deny such claim unless railing to pay                     (2) Engaged in fraudulent conduct; or
          such claim is caused by factors beyond the
          control of us wliich- reasonably prevent                          (3) Made material false statements; relating
          such payment.                                                         to this insurance.

SECTION li - EXCLUSIONS                                           However, we will not deny a claim based on
                                                                 credit information available- iii public records,
Under 1. Coverage E - Personal Liability and                     whether disclosed or undisclosed, if the policy has
Coverhge F - Medical Payments to Others,                         been in effect for more than ninety (90) days.
itenns a. and 1. are deleted and replaced by the
following:
     a. Wliich is expected or intended by one or
          more "insureds";
     1. Arising out of the use, sale, manufacture,                    b. When this policy has been in effect for 90
        delivery, transfer or possession by any                          days or less, we may cancel iimnediately if
        person of a Controlled Substance(s) as                              there has been a material misstateinent or
          aefined under federal law. Controlled                             misrepresentation or failure to comply with
          Substances include but are not limited to                         underwriting requirements.
          cocaine, LSD, marijuana, and all narcotic
          drugs. However, this exclusion does not                     C.    We may also cancel dirts policy subject to
          apply to the legitimate use of prescription                       the following provisions. A written
          frugs byXaa person
                      persi  following the orders of a                      cancellation notice, together wiith the specific
          licenseaphysician.
                  pliysiciai                                                reasons for cancellation, will be delivered to
                                                                            you, or mailed to you at your tnailing address




10                                           Includes Copyriglxted Material with                           FMHO 1067 10 16
                                        Pennission of Insurance Services Office, lnc.
        shown in the Declarations.                                                   the effective date of coverage;
        Proof of mailing will be sufficient proof of                             (d) If the cancellation is for all "insureds"
        notice.                                                                      under policies of this type for a given
                                                                                      class of "insureds";
        (1) Wl'ien you have not paid the premium,
            we may cancel at any time by letting                                 (e) On the basis of property insurance
            yo?i knovir at least 10 days before the                                  claims that are the result of an Act
            aate cancellation takes eff'ect. We uiill                                of Go.d, if we can demonstr4te, by
            reiristate your pOlicy provided that                                     daims freqriency or otherwise, that
            cancellatiori for nonpayme'nt of premium                                 the has failed to take action
            occurs due to a lender's failure to pay                                  reasonably necessary as requested by
            the policy premium.                                                      us to prevent recurrence of damage
                                                                                     to the insured properly; or
        (2) When this policy has been in effect for
            90 days or ress, we may cancel for any                               (f) On the basis of filing a single claim
            reason, except we may not cancel:                                        wliicb is tbe result of water-damage,
                                                                                     if we can demonstrate that the
            (a) On the basis of property insurance                                   "insured" has failed to take action
                  claims that are the result of an Act
                                                                                    reasonably requested by ?is lo
                  of God, unless we can demonstrate,                                prevent a- future- similar occurrence of
                  by claims frequency or otherwise,                                  damage to the insured property.
                  that the "insured" h-as failed to take
                  action reasonably necessary as                         (4) When this policy has been in effect for
                  requested by us to prevent                                 more than 90 days, we may not cancel:
                  recurrence of damage to the insured
                  property; or                                                   (a) On the basis of credit information
                                                                                     available in public records;
            (b) On the sole basis of filing a single
                claim resulting from water damage                                (b) On the basis of lawful use, possession
                unlesswe can demonstrate that you                                    or ownersl'iip of a firearm or
                  have failed to take action                                         ammunition try you, an "insured" or
                  reasonably requested by us to                                      member of your household.
                  prevent a future similar occurrence
                  of damage to the insured property.                     Tliis can be done by letting you know at
                                                                         leastl20days before the datecancellation
            (c) Based on the lawful use, possession,                     takes effect. If more than one notice
                or  ownership of a firearm or                            requirement applies, we will provide the
                  ammunition -by an "insured" or                         broadest notice.
                  household member of an "insured".
                                                                         However, such 120 day no(ice does not
 Except as provided in item 5.b. and 5.c.(1) above,                      apply when the cancellation is due to
we will let you know of our action atleast 20                            no-npayinent of premium.
days before the date cancellation takes effect.
                                                                         Proof of mailing will be sufficient proof of
       (3) When this policy has been in effect                           notice.
           for more than 90 days, we may cancel:
                                                                    d. When thisis policy
                                                                                   pol: is cancelled, the premium
            (a) If there l'ias been a t'naterial mis-                    for the perrod
                                                                                  eriod from the date of cancellation
                  statement;                                             to the expiration date will be refunded pro
                                                                         rata.
            (b) If the risk has cbanged
               substantially since tl'ie policy was                 e.   If tl'ie return premium is not refunded
                  issued;                                                with tbe notice of cancellation or when
                                                                         this policy
                                                                               P'     is returned to us, we will
            (c) In tl'ie event of failure to comply,                     refuna
                                                                              d it within 15 working days after the
                within 90 days of the effective date of                  date cancellation takes effect.
                  coverage, - with underwxiting
                  requirements established by us before



11                                       Includes Copyriglited Material with                             FMHO 1067 10 16
                                     Pen'nission of Insurance Services Office, Inc.
An msurcr tl'iat cancels a property insurance policy                   We nnay do so by delivering to you or mailing
on property secured by a mortgage due to th-e                          to you-at your mailing address-shown in the
failure of the lender to timely pay
                                  paytl'ie premium                     Declarations, written notice, together
                                                                                                      ogel    with the
when due shall reinstate the-policy
                              policy as -required                      specific reasons for nomenewa?,
                                                                                                    .ial, at least 120
by Section 501 .137, Flotida Statutes.                                 aays before the expiration date of this poliey.
                                                                       Proof of mailing will be sufficient proof of
6, Nonrenewal is             deleted and replaced by the               notice.
     following:
                                                                  8. Subrogation,
                                                                           gatioi Tlie following semence is added
6. Ntinrenenal. We may ele3ct not to renew this                        to the-first
                                                                               first paragiaapli of this condition for HO
    policy. However, we wi}l riot n(wellew this                        00 06 policies oniy:
     policy:
                                                                       However, we waive any rigl'its of recovery
     a. On the basis of property insurance claims                      against the corporation-
                                                                                      orporatii  or- association or
       that are tli.e result -of -an Act of God, unless                property owners of the condominium where the
       we can demonstrate,
                 nonstrate, by
                            by claims
                               claxms frequency
                                       irequency                     r'residence premises" is located.
       or otherwise,, that the "insured" has failed
       to take ac(ion reasonably necessary as                     The following conditions are added:
       requested by us to prevent recurrence of                   10. Notice. A company employee adjuster,
       aamage fo the-msi.ired propcrf'j,' or                         independent adjuste'r, attorney-,
                                                                                                .ttorney, investigator, or
                                                                     other persons acting oni behalf
                                                                                                   behalf of us that need
     b.On the basis of filing
                        filingai single claim                          access- to an "insured" or claimant or to the
       resulting from water    damage unless we
                            ir daini
                                                                       insured property that is tlxe subject of a claim
                                                                            ea prope
       can demonstrate that you l'iave failed to take                  must provide at least forty eight
                                                                                                     ight 348)
                                                                                                          (< hour notice
       action reasonably requested by us to prevent
                                             prev                      to the "insured" or claimant,-public
                                                                                                   t, publ adjuster, or
       a future similar occurrence of dam-age
                                         damage to                     legal representative before scheduling
                                                                                                    chedul     a meeting
       the insured property.                                           wFtli the claimant or an onsite inspe'ction of the
     c. Based on the lawful use, possession, or                        insured properly.
        ownership of a firearm or a-mmunition
                                            on by                      The "insured" or claimant may deny access
       an "insured" or household member of
                                        of an
                                           an                          to the property if notice is not provided.
       "insured".
                                                                       The "insured" or claimant may waive the
     d. On the basis of filing of claims for loss                      forty eight (48) hour notice.
       caused by sinkliole damage, regardless of                   11. Renewal Notification. If we elect to renew
       whether this policy has been the -subject of                    this policy, we will let you know, in writing:
       a sinkhole claim,
                  claim, or on the basis -of elie
       risk associated with the occurrence of such                     a. Of our decision to renew this policy; and
       a claim. However, we may elect not to                           b. The amount of renewal premium
       renew this policy if:                                              payable to us.
        (1)The  total or
           l he total of such
                         suchpropi
                              property claim                           Tliis notice will be delivered to you or mailed
               payments equal or exceed the policy                     to you at your mailing address shown in
               limits offcoveragein  effect on the date
                         coveraze in effect                            the -Declarations at least 45 days before the
               of loss for "property damage"
                                         damage" to the                expiration date
                                                                       expiration     date of ofthis
                                                                                                  thispolicy.
                                                                                                       policy. Proof of
               covered building,-as- set  forth on the
                                      et forth
                                                                       mailing will be sufficient
                                                                                       sufficient prooE     notice.
                                                                                                   proof of notit
               declarations page; or
        (2) You have failed to repair the stmcture                 All other provisions of this policy apply.
               in accordance uiith -the engineering
               recommendations of the professional
               engineer retained by us upon wliicli
               any IOSS payment or polic'y proceeds
               were based.

     e. On the basis of credit information available
        in public records.




12                                           Includes Copyrighted Material with                         FMHO 1067 10 16
                                        Peri?nission of Insurance Services OfFice, lnc.
                                                                                                   '-::.;W
                                                                                                       lNStlRANCE




            AMENDATORY ENDORSEMENT

            THIS ENDORSEMENT CHANGES YOUR POLICY - PLEASE READ IT CAREFULLY

            THIS ENDORSEMENT SUPERSEDES A LL O THER ENDORSEMENTS WHICH HA VE BEEN MADE PA RT OF
            YOUR POL/C Y A ND REFERENCE THESE SA ME PRO VIS/ONS

            SECTION I - 'PROPERTY COVERAGES;                         The final two subparagraphs of Item 3 (a. and
                                                                     b.) are replaced by the following:
            COVERAGE A - Dwelling
            Item 1 . is amended as follows:                          We do cover vehicles or conveyances not
            We cover:                                                subject to motor vehicle registration which are:
            1. The dwelling on the "residence premises"                 a. Used solely to service an "insured's"
                shown in the Declarations, including                             residence; or
                structures attached to the dwelling, and                 b. Designed for assisting the handicapped;
                attached wall-to-wall carpeting;
                                                                     Item 10. is added as personal property items
            COVERAGE C - Personal Property                           not covered.
                                                                     10. Water or steam
            The introductory paragraph of Special Limits of
            Liability is amended to read:                           ADDIT?ONAL COVERAGES is revised                  as

                                                                    follows:
           These do not increase the Coverage C Iimit of
           liability. The special limit for each numbered           Item 7. Loss Assessment is deleted in its
           category below is the total Iimit for each Ioss          entirety.
           lor all property in that category. If personal
           property can reasonably be considered a part of          The following is added to Item 8. Collapse.
           two or more of the groups Iisted below, the                 With respect to this Additional Coverage:
           Iowest Iimit will apply.                                    11) Collapse means the sudden and
                                                                            entire falling down or caving in of a
           The following Iimits are added:                                  building or any part of a building
           12. !75000 on electronic data processing system                  with the result that the building or
               equipment and the recording or storage                       part of the building cannot be
               media or accessories used with that                          occupied or used lor its current
               equipment.                                                   intended purpose.
                                                                       (2) A building or any part of a building
            13. 15000 on any one article and el0000 in                      that is in danger of falling down or
               the aggregate for Ioss by theft of any rug,                  caving in is not considered to be in
               carpet (excluding attached wall-to-wall                      a state of collapse.
               carpet), tapestry, wall-hanging or other                13) A part of a building that is standing
               similar article.                                                  is not considered to be in a state of
                                                                             collapse even if it has separated
           14. e2500 in the aggregate for Ioss of any of                     from another part of the building.
              the following whether or not they are part                 (4) A building or ariy part of a building
              of a collection: trading cards, comic books,                   that is standing is not considered to
              figurines, stamps, advertising materials,                         be in a state of collapse even if it
              stuffed animals, dolls, sports and                                shows evidence of cracking,
              entertainment memorabilia, toys, games,                           bulging, sagging, bending, leaning,
               militaria, and books.                                            settling, shrinkage or expansion.

           15. el200 for any one electrical appliance for
              Ioss by sudden and accidental damage from             Item 10. Landlord's Furnishings is deleted in its
              artificially generated electrical currents.           entirety .
              This special limit does not apply to
              electronic data processing equipment or
              storage media.                                        SECTION l - PERILS INSURED AGAINST


                                                                    COVERAGE A - DWELLING and COVERAGE
           Property Not Covered under COVERAGE C
           Personal Property
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                                                                                             ffi

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                                                                                           >:n     INSURANCE




       B - OTHER STRUCTURES                                       Which is expected or intended by the "insured",
       The following is added to item 2.b.                        even if the resulting "bodily injury" or "property
           (4) Footing(s)                                         damage"
                                                                      il) is of a different kind, quality, or degree
       The following are added to item 2.e. Any of the                     than initially expected or intended; or
       following:                                                     i2) is sustained by a different person,
          (10)Growth of trees, shrubs, plants err                          entity, real or personal property, than
              lawns whether or not such growth is                           initially expected or intended.
               aboveor below the surface of the                       However, this exclusion does not apply to
               ground;                                                "bodily injury" resulting from the use of
       The final paragraph of Item 2. is further revised              reasonable force to protect persons or
       as follows:                                                    property.
       If any of these cause sudrJen and accidental
       water damage not otherwise excluded, from a
       plumbing, heating, air conditioning or automatic           SECTION 11 - ADD?TIONAL COVERAGES
       fire protective sprinkler system or household              Item 1 .c . under Claims Expenses is amended
       appliance, we coVer IOSS causecf b4 ?Fie wa?er             as foilows:
       including the cost of tearing out and replacing
       any part of a building necessary to repair the             Reasonable expenses incurred by an "insured"
       system or appliance. We do not cover Ioss to               at our request, including actual IOSS of earnings
       the system or appliance from which this vvaler             (but not Ioss of other income) up to e250 per
       escaped.                                                   day, for assisting us in the investigation or
                                                                  defense of a claim or suit.

       SECTION $1 - EXCLUSIONS                                    Item 4. Loss Assessment is deleted in its
                                                                  entirety.
       Item 1.a. under Coverage E - Personal Liability
       and Coverage F - Medical Payments to Others                All other policy terms and conditions apply.
       is amended as follows:




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                                                                                                                               l
                                                                                          l
                                                                                                >.B:W  INSURANCE




            NO SECTION 11 - LIABILITY COVERAGES FOR HOME DAY CARE BUSINESS
            LIMITED SECTION l - PROPERTY COVERAGES FOR HOME DAY CARE
            BuSlNFSS                                                                                   HO 04 96 04 91


           If an "insured" regularly provides home day care            3. Limits coverage for property used on the
           service* to a person or persons othm than                    a "resideince premises" for the t'iome day care
           "insureds" and receives monetary or other                      enterprise to 02,500, because Coverage C -
           compensation for such services, that enterprise                Special Limits of Liability - item 8. imposes
           is a "business." Mutual exchange of home day                   that limit on "business" property on the
           care services, however, is not considered                      "residence premises." lltem 8. corresponds
           compensation. The rendering of home day care                   to item s. in Form HO 00 08.);
           services by an "insured" to a relative of an
                                                                       4. Limits coverage for property used away from
            "insured" is not considered a "business."
                                                                          the "residence premises" for the home day
           Therefore, with respect to a home day care                     care enterprise to e250, because Coverage C
           enterprise which is considered to be a                         - Special Limits of Liability - item 9. imposes
           "business," this policy:                                       that Iimit on "business" property away from
                                                                          the "residence premises." Special Limit of
            1.Does not provide Section 11 - Liability
                                                                          Liability item 9. does not apply to adaptable
              Coverages because a "business" of an                        electronic apparatus as described in Special
              "insured" is excluded under exclusion l.b. of
                                                                          Limit of Liability items 10. and 11. (ltems
              Section 11 - Exclusions;
                                                                          E'-+ 10. and 11. correspond to items e-+ 7.
           2. Does not provide Section l - Coverage B                     and 8. respectively in Form HO 00 08.)
              coverage where other structures are used in
              whole or in part for "business";

           THIS ENDORSEMENT DOES NOT CONSTITUTE A REDUCTION OF COVERAGE.




    HO 04 96 04 91                        Copyright, Insurance Services Office, Inc., 1990                           Page 1 of 1
i                                                                                               l                                  l
                                                                                                '> Liberty
                                                                                                       Mutuffi.
                                                                                                        I)fflL)RANCE




           INFLAT?ON PROTECTION ENDORSEMENT
           It is agreed that the limits of iiability lor:
                    Coverage A, Dwelling;
                    Coverage B, Structure;
                    Coverage C, Personal Property;
                    and Coverage D, Loss of Use,
           shall be raised by the rate of increase in the Iatest available information on residential building cost
           inflation.

           METHOD

           To find the limits of liability on a given date, the Index Level the Company assigns to that date will be
           divided by the Index Level for the effective date of this Endorsement. This Factor is then multiplied by
           the limit for Coverages A, B, C and D separately.
           If during this policy's term the Coverage A limit is changed at the insured's request, the effsctive date
           of this Endorsement is amended to the effeclive dale of such change.
           This Enaorsement shall not reduce the limits of Iiability to Iess than the amount shown on:
                    a. The policy; or
                    b. The most recent Homeowners Policy Renewal Declaration.

           This Endorsement must be attached to Change Endorsement when issued after the policy is written.




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                                                                                              'l
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l
              "SINKHOLE LOSS" COVERAGE - SECTION 1 PROPERTY

                                                   FMHO 3286 10 11




                         (FOR USE WITH FORMS HO 00 02, HO 00 03 and HO 00 06)

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULY.




DEFINITIONS


  The following definitions are added for purposes of this endorsement only:

   I.   "Sinkbole loss" means "structural damage" solely to the "coverer!l dwelling" on the "residence premises"
        under Coverage A, as defined under the Definitions of the homeowners policy, that you reside in as your
        residence, including the foundation, arising out of or caused by "sinkhole activity". Contents coverage
        and additional living expenses apply only if there is "structural damage" to the "covered dwelling" on the
        "residence premises" under Coverage A, as defined under the Definitions of the homeowmers policy, that
        you reside in as your residence, caused by "sinkhole activity". The definition for "sinkhole loss" does not
        include damage to anything other than the "covered dwelling" on the "residence premises" under
        Coverage A, as defined under the Definitions of the homeowners policy, that you reside in as your
        residence.


  2.    "Structural damage" means the "covered dwelling" on the "residence premises" under Coverage A, as
        defined under the Definitions of the homeowners policy, that you reside in as your residence, regardless
        of the date of its construction, has experienced the following:

        *       Inteiior floor displacement or deflection in excess of acceptable variances as defined in ACI 117-
                90 or the Florida Building Code, which results in settlement related damage to the interior such
                that the interior building structure or members become unfit for service or represent a safety
                hazard as defined within the Florida Building Code;

        *       Foundation displacement or deflection in excess of acceptable variances as defined in ACI318-
                95 or the Florida Building Code, which results in settlement related damage to the "primary
                structural meinbers" or "primary structural systems" that prevents those members or systems
                from supportiiig the loads and forces they vvere designed to suppott to the extent that stresses in
                those "primary structural members" or "pri'inary structural systems" exceeds one and one-third of
                the nominal strength allowed under the Florida Building Code for new buildings of sitnilar
                structure, purpose, or location;

        *       Damage that results in listing, leaning, or buckling of the exterior load bearing walls or other
                vertical "primary structural tnembers" to such an extent that a plumb line passing through the
                center of gravity does not fall inside the middle one-third of the base as defined within the
                Florida Building Code;

        *       Damage that results iii the building, or any portion of the building containing "primary structural
                members" or "primary structural systems;' being significantly likely to itmninently collapse
Pagelof7                                                                                      FMHO 3286 10 11
               because of the n'iovennent or instability of the ground within the iiifluence zone of the supporting
               ground within the sheer plane necessary for the purpose of supporting such building as defined
               within the Floiida Building Code; or
       *       Damage occurring on or after October 15, 2005, that qualifies as "substantial structural damage"
               as defined in the Florida Building Code.

       "Primaxy structural rmmber" as used above means a structural element designed to provide support and
       stability for the vertical or lateral loads of the overall structure. "Primary structural system" as used
       above means an assemblage of "primary stnictural members."
   3. "Sinkhole activity" means settlement or systematic weakening of the earth supporting the "covered
       dweJ]ing" on the "residence preinises" under Coverage A, as defined under the De'finitions of the
       homeowners policy, that you reside in as your residence, only if the settlement or systematic weakening
       results from contemporaneous movement or raveling of soils, sediments, or rock materials into
       soatiterraneari voi6s created by the effect of water or. a limestcrie cr similar rock fori'rzatiao.
   4, "Professional engineer" means a person, as defined in Florida statute 471.005, who has a bachelor's
       degree or higher in engineering. A "professional engineer" must a}so have experience and expertise in
       the identification of "sinkhole activity" as uiell as other potential causes of "structural damage."
   s. "Covered dwelling", as used in this endorsement, means the stand-alone stnicture, or unit for HO 00 06
       fonns, covered under tl'iis policy that you reside in, including an attached garage. This definition does
       not extend to any structures that are attached to the livable square footage of this stand-alone structure,
       including, but riot limited to, patios, walkways, sidewalks, fences, screen enclosures, pavement, decks,
       porches, lanais, driveways, carports, pools, spas, gazebos, etc., unless the structure is under the same
       roofline or foundation line and depth as the "covered dwelling". Under no circumstance will it extend
       beyond the unit for HO 00 06 forins-

   6. "Neutral evaluation" means the alternative dispute resolution provided in F)orida statute 627.7074.
   7. "Neutral evaluator" means a "professional engineer" or a professional geologist who has completed a
       course of study in alternative dispute resolution designed or approved by the Department of Fiiiancial
       Services (referred to as department from here oii) for use in the "neutral evaluation" process and who is
       determined by the deparh'nent to be fair and impartial.
"SINKHOLE LOSS" COVERAGE

   Subject to the coverage and terms of this policy, we insure for direct physical loss to the "covered dwelling"
   on the "residence premises" under Coverage A, as defined under the Definitions of the homeowiiers policy,
   that you reside in as your residence, that occurs during the policy period and is caused by a "sinkhole loss",
   including the cost iiicuned to:

   1. Stabilize the land in accordance with the recoininendation of Liberty Mutual's selected "professional
       engineer" and the "covered dwelling" on the "residence premises" under Coverage A, as defined under
       the Definitions of the homeowners policy, that you reside in as your residence; and,
   2. Repair the foundation in accordance with the recoim'nendatioiis of Liberty Mutual's selected
       "professional engineer" who verifies the presence of a "sinUiole loss" with notice to you, subject to the
       coverage and teri'ns of the policy.
Page 2 of 7                                                                                         FMHO 3286 10 11
    Deductible: Tliis coverage will be subject to a deductible in an amount that is equal to l OoA of your policy's
    Coverage A amount shown in the declarations page.

SECTION I - EXCLUSIONS


    With respect to coverage provided by this endorsement:

    1, The Section I r Earth Movement exclusion does not apply with respect to coverage provided by this
        endorsement.


SECTION l - CONDITIONS


    2, Your Duties After Loss


        Item 2.a.(1) is added:

       2. a.(l) Any claim, including, but not limited to, initial, supplemental, and reopened claims under an
               insurance policy that provides sinkhole coverage is barred unless notice of the claim was given to
               us in accordance with the ten'ns and conditions of the policy within 2 years after you knew or
               reasonably should have known about the "sinkhole loss."

    3. Loss Settlement


      With respect to a loss to the "covered dwelling" on the "residence premises" under Coverage A, as
      defined under the Definitions of the homeowners policy, that you reside in as your residence, caused by a
      "sinkhole loss", Item 3.b.(5) is added:

       3.b.(5) Subject to the Deductible provision appearing under the heading "SINKHOLE LOSS"
               COVERAGE,

                (a) We will pay no more than the actual cash value, less the deductible, of the "sinkhole loss,"
                   not including underpinning or grouting or any other repair technique performed below the
                   existing foundation of the "covered dwelling," until you enter into a contract for the
                   perfonnancc of building stabilization or foundation repairs in accordance with the
                   recommendations set forth in Liberty Mutual's engineer's report issued pursuant to Florida
                   statute 627.7073.


                (b) You must enter into a contract for the perfori'naiice of building stabilization or foundation
                   repairs, in accordance with the recommendation of Liberty Mutual's selected "profe3Bi(iylBl
                   engineer", within 90 days after we confirm coverage for the "sinkhole loss" and notify you of
                   such confirmation. This time period is tolled if either party invokes the "neutral evaluation"
                   process, and begins again 10 days after the conclusion of the "neutral evaluation" process.

                (c) After you enter into such contract for the performance of building stabilization and foundation
                    repairs, we will settle the loss as described in this Condition and pay the amounts necessary to
                    begin arid perform such repairs as work is performed arid as expenses are incurred.

                (d) The stabilization and all other repairs to the "covered dwelling" on the "residence premises"
                   under Coverage A, as defined under the Definitions of the homeowners policy, that you
                   reside in as your residence, and contents must be completed within 12 montl'is after entering
                    into the contract for repairs described above unless:
Page 3 of 7                                                                                    FMHO 3286 10 11
                  (i) Tliere is mutual agi-eement between us and you;
                  (ii) The claim is involved with the "neutral evaluation" process;
                  (iii) The clain'i is in litigation; or

                  (iv) The claim is under "rieutra] evaluation" or mediation.
              a (e) If the "covered dwelling" on the "residence premises" 'under Coverage aA, as defined under
                  the Definitions of the homeowners policy, that you reside iii as your residence, suffers a
                  "sinkhole loss," you must repair such damage or 1055 in accordance with Liberty Mutual's
                  "professional engineer's" recommended repairs. Hovvever, if the repairs have begun and the
                  "professional engineer" selected or approved by Liberty Mutual detennines that the
                  recomn'iended repairs cannot be completed within the policy limits, we will either:
                 (i) Pay to complete the repairs recommended by Liberty Mutual's "professional engineer"; or
                 (ii) Tender the Coverage A policy limits to the policyholder without a reduction for the repair
                    expenses incurred.

               (f) You may not accept a rebate from any person perfonning the required repa'xrs. If you receive
                  a rebate, coverage is void and you must refund the amount of the rebate to us.
               (g) As a pre-condition to accepting payment for a "sinkhole loss," you must file a copy of any
                  sinkhole report regarding the "covered dwelling" on the "residence premises" under Coverage
                  A, as defined under the Definitions of the homeowners policy, that you reside in as your
                  residence, which was prepared on your behalf or request, with the county clerk of court. You
                  shall bear the cost of filing and recordin@ the report.
               (h) If we detennine there is no "sinkhole loss" without perfonning testing, you may demand
                  testing in writing within 60 days after your receipt of our claim denial. You will be required
                  to pay the lesser of 50% of the actual costs of the analyses and services provided under
                  Florida statutes 627.7072 and 627.7073 or $2,500. We will reimburse you for the entire cost
                  of these tests if we obtain uiritten certification that there is a "sinkhole loss."

               (i) If we obtain, pursuam to Florida statutes 627.7073, written certification that there is no
                   "siiikhole loss" or that the cause of the damage was not "sinkhole activity", and if you
                   submitted the sink?hole claim without good faith grounds for submitting such claim, you shall
                   reimburse us for 50 percent of the actual costs of the analyses and services provided under
                   Florida statutes 627.7072 and 627.7073; however, you are not required to reimburse us more
                   than $2,500 with respect to any claim. You are required to pay reimbursement under this
                   subsection only if you requested the analysis and services provided under Florida statutes
                   627.7072 and 627.7073 and we, before ordering the analysis under Florida stalute 627.7072,
                   inform you in writing of your potential liability for reimbursement and give you the
                  opportunity to withdraw the claim.

   6. Appraisal is deleted and replaced by the following:



                                                                                                 FMHO 3286 10 11
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    6. Neutral Evaluation. For sinkhole claims "neutral evaluation" takes the place of any previous Mediation
       conditions in Section I - Coiiditions 6a. "Neutral evaluation" is available to either patty if a sinkhole report
       l'ias been issued pursuant to F]orida statute 627.7073.

       Following the receipt of the sinUiole report or the denial of a claim for a "sinkhole loss," we shall notify
       you of your rigl'it to participate iii the "neutral evaluation" program. We shall provide to you the consutner
       information pamphlet prepared by the department as defined in Florida statutes.

       a. "Neutral evaluation" is iionbiiidiiig, but mandatory if requested by either party. A request for "neutral
           evaluation" may be filed with tbe department by you or us on a fon'n approved by the department.
           The request for "neutral evaluation" must state the reason for the request and must include an
           explanation of all the issues in dispute at the tit'ne of the request. Filing a request for "neutral
           evaluation" tolls the applicable time requirements for filing suit for 60 days following the conclusion
           of the "neutra) evaluation" process or s years, whichever is later.

       b. At a mininmm, "neutral evaluation" nmst detennine:

           (l) Causation;

           (2) All methods of stabilization and repair both above and below ground;

           (3) The costs for stabilization and all repairs; and

           (4) The inforinatioii necessary to carry out 6f.

      C.   "Neutral evaluation" shall be conducted as an informal process in which formal rules of evidence and
           procedure need not be observed. A party to "neutral evaluation" is not required to attend "neutral
           evaluatioi'i" if a representative of the party attends and has the authority to make a binding decision on
           behalf of the party. All parties shall participate in the evaluation in good faith. The "neutral evaluator"
           must be allowed reasonable access to the interior and exterior of insured structures to be evaluated or
           for which a claim has been made. Any reports initiated by the policyholder, or an agent of tbe
           policyholder, confin'ning a "sinkhole loss" or disputing another sinkhole report regarding insured
           structures must be provided to the "neutral evaluator" before the evaluator's physical inspection of the
           insured property.

      d. We shall pay reasonable costs associated with the "neutral evaluation". However, if a party chooses to
          hire a court reporter or stenographer to contemporaneously record and document tbe "neutral
           evaluation", that party i'nust bear such costs.

      e.   Upon receipt of a request for "neutral evaluation", the deparhnent shall provide the parties a li st of
           certified "neutral evaluators". The department shall allow the parties to submit requests to disqualify
           evaluators on the list for cause.


           (l ) The department shall disqualify "neutral evaluators" for cause based only on any of the following
               grounds:

               (a) A familial relationship exists between the "neutral evaluator" and either party or a
                  representative of either party within the third degree.



Page s of 7                                                                                      FMHO 3286 10 11
            (b) The proposed "neutral evaluator" has, in a professional capacity, prcvious!y represented either
               party or a representative of either party, its the same or a substantially related matter.
            (c) The proposed "neutral evaluator" has, in a professional capacity, represented another person in
                the same or a substantially related matter and that person's interests are materially adverse to
                the iiiterests of the parties. The tenn substantially related matter means participation by the
               "neutral evaluator" on the same claim, property, or adj acent property.
            (d) Tlie proposed "neutral evalua(or" has, within the preceding s years, worked as an employer or
               employee of any party to the case.
        (2) The parties shall appoint a "neutral evaluator" from the deparhnent list and promptly infonn the
            deparh'nent. If the parties cannot agree to a "neutral evaluator" within 14 business days, the
            department shall appoint a "neutral evaluator" froii'i t)ie list of certified "neutral evaluators." The
            deparhnent shall allow each party to disqualify two "neutral evaluators" without cause. Upon
            selecticri or appcihtipent, the departmer.t shall prasapily rcfer the request to the "neutral
            evaluator."

        (3) Withiii 14 business days after the referral, the "neutral evaluator" shall notify you and us of the
            date, time, and place of the "neutral eva}ualioii" conference. The conference may be held by
            telephone, if feasible and desirable. Tlie "neutral evaluator" shall make reasonable efforts to hold
            the conference within 90 days after the receipt of the request by the department. Failure of the
            "neutral evaluator" to hold the conference within 90 days does not invalidate either party's right to
            "neutral evaluation" or to a "neutral evaluation" conference held outside this timeframe.

     f. At the conclusion of the "neutral evaluation", the "neutral evaluator" shall prepare a report describing
         all matters that are the subject of the "neutral evaluation", including whether, in his or her opinion, the
         "sinkhole loss" has been verified or eliminated within a reasonable degree of professional probability
         and, if veri'fied, whether the "sinkhole activity" caused "struchiral damage" to the covered building,
         and if so, the need for and estimated costs of stabilizing the land and any covered buildings and other
         appropriate remediation or necessary building stmctural repairs due to the "sinkhole loss." The
         evaluator's report shall be sent to all parties and to the department, within 14 days after completing the
        "neutral evaluatioii" conference.

    g. The recommendation of the "neutral evaluator" is not binding on any party, and the parties retain
        access to the court. The "neutral evaluator's" written recorrunendation, oral testimony, and full report
        shall be admitted in any action, litigation, or proceeding relating to the claim or to the cause of action
        giving rise to the claim.

    h. If the "neutral evaluator" verifies the existence of a sinkhole that caused "structural damage" and
         recommends the need for and estimates costs of stabilizing the land and any covered buildings and
         other appropriate remediation or building repairs, wliicli exceed the amount that we offered to pay
         you, we are liable to you for up to $2,500 in attorney's fees for the attorney's participation in the
         "neutral evaluation" process. For purposes of this subsection, the term "offer to pay" means a written
         offer signed by us or our legal representative and delivered to you within 10 days after we receive
        notice that a request for "neutral evaluation" has been made.



                                                                                              FMHO 3286 10 11
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       i. If we timely agree iii writing to comply arid timely comply with the recoinmendatioii of the "neutral
             evaluator", but you decline to resolve the matter iii accordance with the recoim'iiendation of the
             "neutral evaluator" pursuant to this section:

           (1) We are not liable for extracoiitractual damages related to a claim for a "sinkl'iole loss" but only as
               related to the issues deten'nined by the "neutral evaluation" process. This section does not affect or
               iii'ipair claims for extracontractual damages unrelated to the issues detennined by the "neutral
               evaluatioii" process contained in this section; and

           (2) Our actions are not a confession of judgment or admission of liability, and we are not liable for
               attorney's fees under Florida statute 627.428 or other provisions of the insurance code unless the
               policyholder obtains a judgment that is more favorable than the recoxmnendation of tbe "neutral
                evaluator."


       j. If we agree to comply with the "neutral evaluator's" report, payments shall be made in accordance with
            the ten'ns and conditions of the applicable insurance policy pursuant to Florida statute 627.707(5).

    8. Suit Against Us. The following language is added with respect to sinkhole coverage:

    8. Suit Against Us. No action can be brought unless the policy provisions have been complied with. Filing
       a request for "neutral evaluation" tolls the applicable time requirements for filing suit for a period of 60
       days followiiig the conclusion of the "neutral evaluation" process or s years, whichever is later.

SECTION I AND 2 - CONDITIONS

    6. Nonrenewal


       Witli respect to a loss to the "covered dwelling" on the "residence pretnises" under Coverage A, as
       defined under the Definitions of the homeowners policy, that you reside in as your residence, caused by a
       "sinkhole loss", Irem 6.c. is added:

       6.c. We will not nonrenew any policy on the basis of filing of claims for sinkhole loss if the total of such
            payments does not equal or exceed the policy limits of coverage for the policy in effect on the date of
            loss, for property damage to the "covered dwelling" on the "residence premises" under Coverage A,
            as defined under the Definitions of the homeowners policy, that you reside in as your residence, or if
            the policyholder repaired the structure in accordance with Liberty Mutual's engxneer's
            recommendations upon which any payi'nent or policy proceeds were based. If we pay such limits, we
              may nonrenew the policy.




All other provisions of your policy apply.




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                                                                                                   INSUIANCE




          AMENDATORY MOLD, FUNGUS, WET ROT, DRY ROT, BACTERIA, OR VIRUS
          ENDORSEMENT

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
          DEFIN?TIONS

          The following definition is added to the DEF?NIT?ONS section:
                  9. "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" means any type or form of fungus,
                      rot, virus or bacteria. This includes mold, mildew and any mycotoxins (meaning a toxin
                      produced by a fungus), other microbes, spores, scents or byproducts produced or released
                      by mold, mildew, fungus, rot, bacteria, or viruses.
          SECTION l - PROPERTY COVERAGES

          Additional Coverages

          The following Additional Coverage is added:
                  12. Remediation of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" Resulting Directly
                      From Any Covered loss

                  We will pay, up to the Basic Policy Limits or Option shown in the Declarations, for the
                  "Remediation" of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" resulting directly from
                  any covered loss.

                  "Rernediation" means the reasonable and necessary treatment, containment, decontamination,
                  removal or disposal of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" as required to
                  complete the repair or replacement of property, covered under Section I of the policy, that is
                  damaged by any covererJ peril insured against, and also consists of the following:
                         1 . The reasonable costs oy expense to remove, repair, restore, and replace that
                             property including the costs to tear out and replace any part of the building as
                             needed to gain access to the "Mold, Fungus, Wet Rot, Dry Rot, Bameria, or Virus";
                             and


                         2. the reasonable costs or expense for the testing or investigation necessary to detect,
                              evaluate or measure "Mold, Fungus, Wet Rot, Dry Rol, Bacteria, or Virus" ; and
                         3. any loss of fair rental value, or reasonable increase in additional living expenses, that
                             is necessary to maintain your norma) standard of Iiving, if "Mold, Fungus, Wet Rot,
                             Dry Rot, Bacteria, or Virus" resulting directly from any covered loss makes your
                             residence premises uninhabitable.

                  We will pay no more than the Basic Policy Limits or Option shown in the Declarations for the
                  "Remediation" of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" resulting directly from
                  any covered Ioss during the policy period, regardless of the number of locations under the
                  policy to which this endorsement is attached, the number of persons whose property is
                  damaged, the number of "insureds," or the number of losses or claims made.
                  If there is a covered loss or damage to covered property, not caused, in whole or in part, by
                  "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus," loss payment will not be Iimited by the
                  terms of this Additional Coverage, except to the extent that "Mold, Fungus, Wet Rot, Dry Rot,
                  Bacteria, or Virus" causes an iricrease in the Ioss. Any such increase in the Ioss will be subject
                  to the terms of this Additional Coverage.
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                      This limitation does not apply to "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" ensuing
                      from a covered fire or Iightning loss.

                      This Additional Coverage does not increase the Iimits of liability under Section I of the policy as
                      shown in the Declarations.


           SEC:TION I l EXCLUSIONS a

                      Exclusion 1.i. is added:

                             i.   Except as provided by Additional Coverage 12., loss consisting of or caused by
                                  "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" is excluded, even if resulting
                                  from a peril insured against under Section 1. We do not cover "Remediation" of
                                  "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus," even if resulting from a peril
                                  insured against under Section I, except as provided by Additional Coverage 12.

                    This exclusion does not apply to "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" ensuing
                    from a covered fire or lightning loss.

           SECTION 11 (LIAB?LITY COVERAGES)-COND?TIONS

           Condition 1. Limit of Liability is deleted and replaced by the following:

                      1 . Limtt of Liability. Our total liability under Coverage E lor all damages resulting from any one
                          "occurrence" will not be more than the Coverage Limit shown in the Declarations. All
                          "bodily injury" and "property damage" resulting from any one accident or from continuous
                          or repeated exposure to substantially the same general harmful conditions shall be
                         considered to be the result of one "occurrence."

                    However, our total liability under Coverage E for the total of all damages arising directly or
                    indirectly, in whole or in part, out of the alleged or threatened inhalation of, ingestion of
                    contact 'with exposure to, existence of, or presence of any "Mold, Fungus, Wet Rot, Dry Rot,
                    Bacteria, or Virus" will not be more than the Coverage E Aggregate Sublimit of Liability for
                    "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" shown in the Declarations. This is the
                    most we will pay regardless of the:

                    a.   Number of locations insured under the policy to which this endorsement is attached:
                    b. Number of persons iniured;
                    c. Number of persons whose property is damaged;
                    C.


                   d. Number of "insureds"; or

                   e.    Number of "occurrences" or claims made.

                   This sublimit is within, but does not increase, the Coverage E limit of Iiability shown in the
                   Declarations. This sublimit applies separately to each consecutive annual period and to any
                   remaining period of less than 12 months, starting with the beginning of the policy period
                   shown in the Declarations.

                   With respect to damages arising out of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus"
                   described in 1 . Limit of Liability of this endorsement, Condition 2. Severability of Insurance is
                   deleted and replaced by the following:

                   2. Severability of Insurance. This insurance applies separately to each "insured" except with
                         respect to -the Coverage E Aggregate Sublimit of Liability described in this endorsement
                         under Section 11 Conditions 1 . Limit of Liability. This condition will not increase the limit of
                         Iiability for this coverage.

          This endorsement takes precedence over all other endorsements attached to your policy.

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                                                                                         INSURANCE




                                BASIC COVERAGE LIMITS AND OPTIONAL INCREASED LIM/TS


          Basic Policy Limit:                      SECTION l       Each Covered Loss         610,000

                                                                   Policy Aggregate          !>20,000

                                                   SECTION 11    ? Aggregate Sublirnit       '>50,000


          Option A - for a premium charge:         SECTION l       Each Covered Loss         *;zs,ooo

                                                                   Policy Aggregate          150,000
                                                   SECTION 11      Aggregate Sublimit        !>50,000


          Option B - for a premium charge:         SECTION I       Epch Covered Loss         150,000

                                                                   Policy Aggregate          650,000
                                                   SECTION II      Aggregate Sublimit        *bo,ooo




    FMHO 3468 08 13                                                                                     Page 3 of 3
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY
 CALENDAR YEAR HURRICANE DEDUCTIBLE (PERCENTAGE) - FLORIDA
                                                ALL FORMS EXCEPT HO 00 04
                                                              SCHEDULE*


Calendar Year Hurricane Deductible Amount                                     % of the Coverage A - Dwelling Limit of Liability
    "Entries may be left blank if slioiivn elsewhcre in iliis policy f'or (his coveriige.

A. Loss by Windstorm During a Hurricane
    Witli respect to paragraphs C. and D., coverage for windstori'n loss caused by a lmrricane wliicli occurs
    anywhere in the state of Florida, includes loss to:
    1. Tlie inside of a bt+ilding; or
    2. Tlie properly contained in a building caused by:
        a. Rain;
        b. Snow;
        c. Sleet;
        d. Hail;
        e. Sand; or
        f. Dust;
    if tl'ie direct force of the windstorm damages the building, causing an opening through whicl'i rain, snow,
    sleet, hail, sand or dust enters and causes damage.
B. Hurricane Described

    1. A hui'ricane means a stori'n system that has been declared to be a hurricane by tlte National Hurricane
         Center of the Na(ional Weatlier Service.

    2. A lmrricane occurrence:

        a. Begins at the time a lmrricane watch or warning is issued for any part of Florida by tlte National
              Huriicane Center of the National Weather Service; and
        b. Ends 72 hours following the termination of the last hurricane watch or hurricane warning issued for
            any part of Florida by the National Hurricane Center of the National Weather Service.
C. Calendar Year Hurricane Deduetible Described

    A lmrricane deductible issued by us or an insurer in the same insurer group:
    1. Can be exhausted only once during each calendar year; and
    2. Applies to loss on Covered Property caused by one or more lmrricanes during each calendar year,
   The dollar amount of the calendar year hurricane deductible is determined by multiplying the Covcrage A
   limit of liability shown in the Declarations by the percentage amount shown in the Schedule above.
D. Appucation of Calendar Year Hurricane Deductible
    1. In the event of the first windstorm loss caused by a single lmriicane occurrence during a calendar year,
        we will pay only tl'iat part of the total of all loss payable under Section l- Property Coverages that
        exceeds the calendar year lmrricane deductible stated in the Schedule.




FMHO 1158 Rl                                                              1                                                    PF
     2. Witli respect to a windstonn loss caused by the second, and each subsequent Iiurricane occurrence during
         the same calendar year, we will pay only that part of the total of all loss-or damage payable under Section
         I - Property Coverages that exceeds the greater of:
         a. Tlie remaining dollar amount of the calendar year hurricane deductible; or
         b. Tlie deductible that applies to fire that is in effect at the time of the loss.
         The remaining dollar amount of the calendar year hurricane dedudible is determined by subtracting all
         previous winaston'n losses caused by hurricanes during the calendar year from the calendar jeg
         hurricane deductible.
     3. If:

         a. Covered property is insured under more than one policy issued by us or aiiotlier insurer in the same
              insurer gi-oup; and
         b. Different lmrricane deductibles apply to tbe same property under such policies;
         Tlien the }mrricane deductible applicable under all such policies used to determine the total of all loss
         payable uaier Secticn I - Property Cciverages sha}I be the highest ainourit stated in any one of the
         policies.
     4. When a renewal policy is issued by us or an insurer in the same insurer group, or we issue a policy tl'iat
         re,places  one issu4d by us or an insurer in Jhe sam,e in,surer gro,up, and the renew.al. or repla,cement policy
         takes effect on a date other than January 1 = of a calendar year, the following provisions apply:
         a. If the renewal or replacement policy provides a lower hurricane deductible than the prior policy, and
              you incurred loss fro'in a lmrricane under the prior yolicy
                                                                    golii in that same calendar year, the lower
             hurricane deductible will not take effect until Jamiary l " ofofthe following calendar year.
         b. If the renewal or replacement policy provides a lower hurricane deductible tl'ian the prior policy, and
            you have not incurred a hurricane loss in the same calendar year, the Iower hurricane deductible will
             rake effect on the effective date of the renewal or replacement policy.
         c. If the renewal or replaicet'nent p61icy provides a Iiigher hurricane deductible t}xan the prior policy, the
              higher hurricanere dearictible:
                                 dedrici

              (1 ) Will take effect on the effective date of the renewal or replacement policy; and
              (2) Shall be used to calculate the remaining dollar amount of the lmrricane deductible described in
                  Paragraph 2.
     s. You must:

         a. Maintain receipts or other records of hurricane losses below the deductible amount;
         So that we may apply the amount of losses below the deductible amount to subsequent claims for
         windstorm loss caused by hui'ricanes that occur during the calendar year.
 E. Loss By Windstorm That is Not A Declared Hurricane
 Refer to tl'ie policy declarations for the deductible that applies to windstorm loss if the circumstances of the loss
 described above do not apply.
 All other prosiisions of this policy apply.




FMHO 1158 Rl                                                2                                                     PF
                                                                                                 '>:ffl  INSURANCE




           LEAD POISONING EXCI uSION ENDORSEMENT
           The following provisions are added to and made part of your Homeowners Policy:
           Section l - Property Coverages do not apply to any costs or expenses incurred or loss arising out of:
                1 . the removal, testing for, monitoring, clean-up, abatement, treatment, or neutralization of lead;
                     a paint, putty or plaster ceintaining Iead; soil or earth containing Iead; or an9 other substance or
                     material containing Iead, or;
                2. any governmental direction or other request that you test for, monitor, clean-up, remove,
                     abate, contain, treat or neutralize Iead; paint, putty or plaster containing Iead; soil or earth
                     containing lead; or any other substance or material containing lead.
           Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to bodily
           injury or property damage:
                1 . arising out of lead paint, plaster or putty containing lead; soil or earth containing lead or any
                     other material or substance containing Iead, or;
                2    any costs or expenses incurred or Ioss arising out of any claim, governmental direction, or
                     request that you test for, monitor, clean-up, remove, abate, contain, treat or neutralize lead;
                     paint, putty or plaster containing Iead: soil or earth containing Iead; or any other substance or
                     material containing Iead.
           This exclusion applies to any obligation to share damages, costs or expenses with someone else or to
           repay someone else who must pay damages, costs or expenses.



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i                                                                                                 l                                   r
                                         SEEPAGE EXCLUSION ENDORSEMENT

                           This endorsementchanges your policy. Please read it carefuuy,




SECTION l- PERILS INSURED AGAINST

CoverageA - Dwelling and CoverageB - Other Structures

Paragrapli 2.e. (9) is added:

         (9) Seepage, meaning a gradual, continuo?is or repeated seepage or leakage, of water, steam or fuel over a
              period of 14 days or more, resulting in damage to the structure, whether hidden or not.


             This endorsetnenttakes precedenceover all other endorsements attached to your poucy.




FMHO 3314 10 11                                                                                        Page 1 of 1
                                                                                                                 PF
                                                                                               >:2     INSURANCE




            Notice of Membership in Liberty Mutual Holding Company Inc.
            While this policy is in effect, the named insured first named in the Declarations is a member of Liberty
            Mutual Holding Company Inc. and is entitled to vote either in person or by proxy at any and all meetings
            of the members of said company. The Annual Meeting of Liberty Mutual Holding Company Inc. is in
            Boston, Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning.
            The named insured first named in the Declarations shall participate in the distribution of any dividends =
            declared by us for this Policy. The amount of such Named lnsured's participation is determined by the
            decision of our Board of Directors in compliance with any Iaws that apply.

            Any provisions in the policy relating to:
            1. Membership in Liberty Mutual Insurance Company or Liberty Mutual Fire Insurance Company; or
            2. Entitlement to dividends as a member of Liberty Mutual Insurance Company or Liberty Mutual Fire
                Insurance Company
            are deleted and replaced by the preceding paragraphs.
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        Tliis tr;msfcr and iissigiirncm of rights also includes any right of the }nsurcd to collect 1<>r cxtra
        coiuractual d;images, ccmsequential damages, common law damages arid statutory damages. This
        traiist-er axid assigimiem allows the Contractor to tile a lawsuit in t}ie Comractor's name to collect
        tt'ie proceeds assigned herein.
        C lient agrees that if the Insured's insurance company tries to pay the proceeds to the insured
        and/or lnsured's mortgage lender, the Insured wi)l assist Citrus Contacting LLC to have those
         insurance proceeds made payable to Citrus Contracting LLC.
         IN W{TNESS WHERE OF, the undersigned have caused this transfer and assignment of
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         insurance claim to be duly executed this                                          4+
                                                                                                 dayof '?'!4('Gl.?? ,20?.

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   Page 8 of 8
      ?            DDA Claims Management
                   5335 NW 87th Ave. Cl09, #381
 CLAIMS            Doral, FL 33178
   MANAGEM!NT




            Insured:      CC a/a/o Mardini, Walid & Rana                               Home:      (407) 969-6868
           Property :     2117 Wembley Pl                                             E-mail:     parkcitmscontracti?ng@gmail. com
                          Oviedo, FL 32765
                Home:     2117 Wembley Pl
                        , Oviedq, FL 32765


        ClaimRep.:        Edgard De Olazabal                                        Business:     (305) 874-7399
           Position:      Consultant IICRC-WRT/ASD                                    E-mail:     Admin@ddaclaims.com
          Company:        DDA Claims Management
           Business:      5335 NW 87th AVE Cl09 #381
                          DORAL, FL 33178


           Claimant:      Park Chapman                                              Business:     (407) 969-6868


          Estimator:     Edgard De Olazabal                                         Busilless:    (305) 874-7399
           Position:      Consultant IICRC-WRT/ASD                                    E-mail:     Adinin@ddaclaims.com
          Company :       DDA Claims Management
           Busiiiess:     5335NW87tliAVECl09#381
                         DORAL, FL 33178


    Claim Number: 039539972-01                  Policy Number: H3225156833540           Type of Loss: Hiu'ricane

    Date Contacted:       7/3/2019
       Date of Loss:      9/10/2017 2:00 AM                 Date Received:   7/2/2019 2:00 AM

     Date Inspected:      8/6/2019                           Date Entered:   8/16/2019 10:27 PM

Date Est. Completed:      9/16/2019 2:26 PM


          Price List:     FLOR8X SEP19
                          Restoration/ServicefRemodel
           Estimate:      CC A A O MARDINI WA
         ?              DDA Claims Management
                        5335 NW 87tli Ave. Cl09, #381
 ( L A l M s Doral, FL 33178
  M A N A G ! M ! N T




                                                            CC A A O MARDINI WA

                                                                    2117 Wembley Pl
                                                                         Exterior




 DESCRIPTION                                      QUANTITY UNIT PRICE                TAX          0&P           RCV        DEPREC.            ACV

 l.RemoveTileroofing-Concrete-"S"or 61.75SQ                            169.75         000     2,201.24 12,683.30               (000)      12,683.30
 flat tile

 2. Additional charge for high roof (2               10.36SQ             5.07         000         1103          63.56          (ooo)          63.56

 stories or greater)
 3.Re-nailingofroofslieathing-complete 6,174.73SF                        029          8.64      377.85 2J77.16                 (o.oo)      2,177.16
 re-nail
 4. R&R Modified bitumen roof - self-                61.75SQ          440.82        623.82    5,847.33 33,691.79               (o oo)     33,691.79
 adhering
 5.Tileroofing-Coiicrete-"S"orflattile 71.01SQ                        635.06        811.02    9,640.39 55,547.02               (0.00)     55,547.02
 6. Additional char(4e for high roof (2              10.36 SQ           23.33         o.oo        50.76        292.46          (0.00)        292.46
 stories or greater)
 7. Tile delivery fee'                                1.OOEA        2,500.00          0.00         0.00 2,500.00               (0.00)      2,500.00
 8. Bird stop - Eave closure strip for tile        448.89 LF             3.91        49.33      378.95 2,183.44                (0.00)      2,183.44
 roofing - metal
 9. R&R Ridge / Hip / Rake cap - tile               465.96LF            17.18       226.36     1,72863 9,96018                 (o.oo)      9,960.18
 roofing
 10. Hip & ridge nailer board for tile              388.73 LF            3.21        43.54      271.18 1,562.54                (o.oo)      1,562.54
 roofing - channel metal
 11. R&R Drip edge                                  448.89LF             2.96        23.57      283.98       1,636.26          (0.00)      1,636.26
 12. R&R Valley metal - (W) profile                 16640LF              7.44        31l0       266.52 1,535.64                (000)       1,535.64
 13. R&RFlashing,20"wide                             14.23 LF            5.07         l .44       15.44         89.03          (o.oo)         89.03

 14. Step flashing                                   60.92LF            10.99         576       141.81         817.08          (0.00)        817.08

 15. Stucco color coat (Redasli) - sand             945 71 SF            3.12        25.16      624.92 3,600.70                (0.00)      3,600.70
 texture

 Stucco needed for the damaged s'tufrace areas after instailing flashing.
 16. Stucco Plasterer - per hour                   9.00 HR              40.04         ooo        75.68         436.04          (o.oo)        436.04

 17. R&R Flashing - pipe jack                         5.00EA            54.90         351         58.39        336.40          (0.00)        336.40

 18. R&R Exltaust cap - tl'irough roof - up           6.OOEA            93.99        10.50      120.64         695.08          (ooo)         695.08
 to 4"
 19.R&RGutter/downspout-aluminuir+- 160.00LF                             5.54        28 56      192.15       1,107.11          (000)       1,107.11
 up to 5"
 20. Awniiig & Patio Cover - General   5.00HR                           35.06         o.oo        36.81        212.11          (o.oo)        212.11

 Laborer - per hour
 Labor hours to detach and reset the screen enclosvire.
 21.Cranem'idoperator-14toncapacity- 12.00HR                           115.00         o.oo      289.80 1,669.80                (0.00)      1,669.80
 65' extension boom

 Hoisting of tiles to roof for pre-loading. Includes drive timc to and from.
 22. Roofing - General Laborer - per hour            62.00 HR           35.06         ooo       456 48 2,630.20                 (000)      2,630.20
 Pre-loading of the roof prior to installation.
 23. Fall protection harness and lmiyard -            6.00WK            22.00         ooo        27.72         159.72           (o.oo)       159.72

 per week
 OSHA 1926.501, (a)(1 1): Each employee on a steep roof with rinprotected sides and edges 6 fect or more abovc the lower levels shall bc protected
 from j ng y guar rat s'vsteins with toeboards, safety net systems, or personal fall arrest systems.
CC A A O MARDINI WA                                                                                                     9/16/2019              Page: 2
        ti             DDA Claims Maiiagement
                       5335 NW 87tli Ave. Cl09, #381
 CLAIMS Doral,FL33178
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                                                                   CONTINUED - Roof




 DESCRrPT}ON                                    QUANTITY UNIT PRICE                      TAX             0&P            RCV DEPREC.                     ACV


 6 workers for 1 week
                                                                     1.48                13.26          42.57         245.27            (o oo)        245.27
 24. Material Only AC plywood - 1/2"             128.00 SF

 Protection of driveway from dumpster during drop-off and pick-up.
                                                                    35.06                 0.00           7.37           42.43           (o.oo)         42.43
 25. Instan General Laborer - per hour             1.00 HR
 Labor cost to lay plywood and discard following dumpster pick-up.
 26. Diunpster load - Approx. 40 yards, 7-8 4.00 EA                625.00                 o.oo         525.00        3,025.00           (0.00)       3,025.00
 tons of debris

 Approxirnately 30.88 tons of material

 Totals: Roof                                                                         1,905.57 23,672.64 138,899.32                          0.00 138,899.32




                                       Loss Mitigation

 DESCRIPTION                                    QUANTITY UNIT PRICE                      TAX            0&P             RCV DEPREC.                     ACV


 27. R&R Tarp - all-p?irpose poly - per sq ft 6,1 14.73 SF                 1.14          9509 1,49820 8,63248                           (o.oo)       8,632.48
 (labor and material)
 28. Roofer - per hour                              4 00 HR             16[7              0.00         i35.97         783.45            (0 00)        783.45

 Additional Labor charge for lost productivity on a high roof (2 stories or greater), due to accessibility, and extra sie'ly precautioxis.

 Totals: Loss Mitigation                                                                 95.09 1,634.17 9,415.93                             0.00 9,415.93


 Total: Exterior                                                                      2,000.66 25,306.81 148,315.25                          0,00 148,315.25




                                                                           Interior




         i?8' l"?2' 6"12' 3ai
                                       Bedroom                                                                                                     Height: 8'

                                                         380.00 SFWalls                                            140.93 SF Ceiling
                                                         520.93 SF Walls & Ceiling                                 140.93 SFFloor
                                :l
                Bedroom
                                ?II5                                                                                 47.50 LF Floor Perimeter
                                                          15.66 SYFlooring
                                                          47.50 LF Ceil. Perimeter
              11"-il'l--5'6"?
         ll??5' 8"-i
         ll?



 DESCRIPTION                                    QUANTITY UNIT PRICE                      TAX             0&P            RCV DEPREC.                     ACV

 29. Content Manipulation charge - per                2.00HR             35.06            ooo            14.72          84.84           (o oo)          84 84
 hour
                                                      IOOEA             157.88            o.oo          33.16          191.04           (ooo)          19104
 30. Ceiliiig fair - Detac}t & reset

CC A A O MARDINI -WA                                                                                                            9/16/2019               Page: 3
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                                                           CONTINUED - Bedroom




 I)ESCRIPTION                               QUANTITY UNIT PRICE,          TAX      0&P         RCV nEPREC.                   ACV


                                                l.00EA          12.43      0.00     2.61       15.04          (0.00)         15.04
 31. HeaUAC register - Mechanically
 attached - Detach & reset
 32. Cold air remm cover - Detach & reset       l.OOEA          16.98      0.00     3.57      20.55           (0.00)        20.55

                                                                31.95      0.00     6.72       38.67          (0 00)        38.67
 33.interiorwiiidowslmtters(set)-Detach         l.OOEA
 & reset

 34. Window drapery - hgdware - Detach          1.OOEA          28.82      0.00     6.05       34.87          (0.00)         34.87
 & reset
                                                                 2.21      1.71    22.64     130.43           (o.oo)       130.43
 35. R&R 5/8" drywall - hung, taped, ready 48.00 SF
 for texture
 36. R&R Batt insulation - 6" - R19 -          48.00 SF          1.06      181     11 .06      63.75          (o.oo)        63.75
 unfaced batt

 37. R&R l/2" drywall - hung, taped, ready 16.00 SF              2.11      0.52     7.20      41.48           (ooo)         41.48
 for textiire

 38.Texturedrywall-smooth/skimcoat 239.59SF                      110       1.68    55.71     320.94           (O 00)       320.94

                                      98.66 SF                   0.43      0.28     8.97       51.67          (o.oo)         51.67
 39. Texture drywall - machine
 40. Texture drywall - machine -     140.93 SF                   0.46      0.39    13.69       78.91          (o.oo)         78.91

 knockdown
 41. Crownmolding-3 l/4"                        6.67LF           3.77      0.63     5.42       31.20          (o.oo)         31.20

                                                                 1.02      5.13    3126       18014           (0.00)       isoi<
 42.Floorprotection-cloth-skidresistant, 140.93SF
 breathable
 43. Mask and prep for paiiit - plastic,       47 50 LF          112       0.86    11.36       65.42          (000)          65.42

 paper, tape (per LF)
                                               47.50LF           1.16      0.33    11.64       67.07          (ooo)          67.07
 44. Seal & paint baseboard - two coals
                                               47.50LF           0.62      0.30     6.25       36.00          (o.oo)         36.00
 45. Seal & paint base shoe or quarter
 round
                                                                 1.18      0.40    11.86       68.31          (000)          68.31
 46. Seal & paint crown molding - tyvo         47.50LF
 coats
                                                                24.34      028      5.17       29.79          (0.00)        29.79
 47. Paint door/window trim & jainb - 2         IOOHA
 coats (per side)
 48. Seal/prirne then paint the walls mid     520. 93 SF         103       9.12   114.59     660.27           (000)        660 27

 ceiling twice (3 coats)
 49. Dust control barrier per square foot      1667SF            0.64      o.os     2.26       13.01          (o.oo)         13.01

 50. Peel & seal zipper - heavy duty            l.OOEA          14.17      0.76     314        18.07          (0.00)         18.07


 Totals: Bedroom                                                          24.28   389.05    2,241.47               0.00   2,241.47




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C L p, 1 M s Doral, FL 33178
  MA%la!14{IIT




                                                                                                                                    Height: 8'   I




          l:.h.
                                       Closet

                  4' 11"-+l's
                                                        148.00 SF Walls                                17.88 SF Ceiliiig

         :l[?
          ? 71 7? 11 ?
                                                        165.88 SF Walls & Ceiling
                                                          1.99 SY Flooring
                                                                                                       17.88 SFFloor
                                                                                                       18.50 LF Floor Perimeter
                                                          18.50 LF Ceil. Perimeter




 DESCRIPTION                                      QUANTITY UNIT PRICE                TAX      0&P        RCV DEPREC.                     ACV

                                                      1.OOHR          35.06           ooo      7.37      42.43          (0.00)          42.43
 51. Content Mai'iipulation charge - per
 hour
                                                     6.50LF           54.31           0.00    74.13     427.15          (o oo)         427.15
 52. Closet Organ#er - Melamine or Wire -
 Detacli & reset
                                                     17.88 SF          2.21           0.64     8.44      48.59          (0.00)          48.59
 53. R&R 5/8" drywall - hung, taped, ready
 for texture
 54. R&R Batt insulation - 6" - Rl9 -                17.88 SF          1.06           0.68     4.14      23.78          (o.oo)          23.78
 unfaced batt
                                                     17.88 SF          1.10           0.13     4.15      23.95          (0.00)          23.95
 55. Texture drywall - smootlt / skzm coat
                                                     17.88 SF          0.46           0.05     1.74      10 01          (o oo)           io.oi
 56. Textiire drywall - machine -
 knockdown
                                                     17.88 SF          1.02           0.65     3.97      22.86          (0.00)          22.86
 57. Floor protection - cloth - skid resistant,
 breathable
                                                     18.50LF           1.12           0.34     4.42      25.48          (0.00)          25.48
 58. Mask and prep for paint - plastic,
 paper, tape (per LF)
                                                     17.88 SF          1.03           0.31     393       22.66          (0.00)          22.66
 59. Seal/prime then paint the ceiling tivice
 (3 coats)

 Totals: Closet                                                                       2.80   112.29     646.91               0.00      646.91


 Total: Interior                                                                     27.08   501.34 2,888.38                 0.00 2,888.38


 Total: 2117 Wembley Pl                                                         2,027.74 25,808.15 151,203.63                0.00 151,203.63




                                       General


 DESCRIPTION                                      QUANTITY UNIT PRICE                TAX      0&P        RCV DEPREC.                     ACV

 60. Residcntial Supervision / Project              40.00 HR          55.00           ooo    462.00   2,662.00           (o.oo)       2,662.00
 Management - per hour
 61. Taxes, insurance, pemiits & fees (Bid            l.OOEA       3,426.92           o.oo   719.65   4,146.57           (0.00)       4,146.57
 Item)
 62 Temporary toilet (per month)                      l.00MO         124.99           o.oo    26.25     151.24           (0.00)         151.24

                                                      8.OOHR          37.58           ooo     63.13     363.77           (0.00)        363.77
 63. Cleaniiig Technician - per hour
                                                                      65.07           4.55    14.63      84.25           (ooo)           84.25
 64. Job-site cargo/storage container - 1 6'          IOOMO
 long - per month
                                                     2.00EA           9940           13.92    44.67     257.39           (o oo)        257.39
 65. Job-site cargo contaiiier - pick up/del.
 (each way) 16'-40'
 66. Haul debris - per pickup tnick load -            IOOEA          12764            o.oo    26.80     154.44           (0.00)         154.44

 iiicluding dump fees

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       ?              DDA Claims Management
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                                                          CONTINUED - General




 DESCRTPTION                               QUANTITY UNIT PRICE                TAX         0&P             RCV        DEPREC.              ACV

 Totals: General                                                              18.47    1,357.13        7,819.66               0.00     7,819.66




 Labor Minimums ApBilied

 DESCRIPTION                               QUANTITY TJNIT PRICE               TAX         O&P             RCV        DEPREC.              ACV

 67. Insulation labor miniinum"                 l.OOEA           75.42         ooo        15.84           91.26          (0.00)           91.26

                                                IOOEA            7066          ooo        14.84           85.50          (0.00)           85.50
 68. Wiiidow treatment repair"'
                                                l.OOEA          196.50         ooo       41.27           237.77          (0 00)         237.77
 69. I-Ieat, vent, & air cond. labor
            *
 rmJll{n'Luna
                                                IOOEA           180.08         ooo        37.82         217.90           (0.00)         217.90
 70. Framing labor minimui'n
 71. Electricallaborminimum                     l.OOEA           67.22         o.oo       14.11           81 33          (0.00)           81.33

 72. Water extracUremediation labor             1.OOEA          124.83         o.oo       26.21          151.04          (o.oo)          151.04

 tmmmum


                                                                               0.00      150.09          864.80               0.00       864.80
 Totals: Labor Minimums Applied

 Line Item Totals: CC A A?O MARDINI WA                                    2,046.21    27,315.37      159,888.09               0.00   159,888.09




 Grand Total Areas:
          528.00 SFWalls                              158.81 SF Ceiling                       686.81 SFWallsandCeiling
           158.81 SFFloor                              17.65 SYFlooring                           66.00 LFFloorPerimeter

                0.00 SF Long Wall                        0.00 SF Short Wall                       66.00 LF C.eil. Perimeter


           158.81 FloorArea                           179.31 TotalArea                        528.00 Interior Wall Arca

        4,288.98 ExteriorWallArea                     474.41 ExteriorPerimeterof
                                                             Walls


                0.00 Surface Area                        0.00 Numbcr of Squarcs                    0.00 Total Perimetcr Lengtb
                0.00 Total Ridge Lengtli                 0.00 Total Hip Length




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 CLAIMS                 Doral, FL 33178
  M A N A G E M ( N T




                                                          Summary for Dwelling
 Line Item Total                                                                              130,526.51
 Material Sales Tax                                                                             2,027.74
 Storage Rental Tax                                                                                18.47


 Subtotal                                                                                     132,572.72
 Overliead                                                                                     13,007.33
 Profit                                                                                        14,308.04

 Replacement Cost Value                                                                      $159,888.09
 Net Claim                                                                                   $159,888.09




                                               Edgard De Olazabal
                                               Consultant IICRC-WRT/ASD




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